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                                            Hearing Date: November 20, at 10:00 a.m. (prevailing Eastern Time)
                                        Objection Deadline: November 13, at 4:00 p.m. (prevailing Eastern Time)

 Stephen E. Hessler, P.C.                                       Chad J. Husnick, P.C.
 Mark McKane, P.C. (admitted pro hac vice)                      Benjamin M. Rhode (admitted pro hac vice)
 Patrick Venter                                                 KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS LLP                                           KIRKLAND & ELLIS INTERNATIONAL LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP                             300 North LaSalle Street
 601 Lexington Avenue                                           Chicago, Illinois 60654
 New York, New York 10022                                       Telephone:      (312) 862-2000
 Telephone:     (212) 446-4800                                  Facsimile:      (312) 862-2200
 Facsimile:     (212) 446-4900

 Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                          )
    In re:                                )   Chapter 11
                                          )
    FRONTIER COMMUNICATIONS               )   Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                 )
                                          )
                           Debtors.       )   (Jointly Administered)
                                          )
                              NOTICE OF HEARING
                      ON THE FINAL FINAL FEE APPLICATION
                     OF CRAVATH, SWAINE & MOORE LLP FOR
              ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
               OF EXPENSES AS SPECIAL COUNSEL FOR THE DEBTORS
           FOR THE PERIOD FROM APRIL 14, 2020 THROUGH AUGUST 27, 2020

         PLEASE TAKE NOTICE that on October 30, 2020, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Final Fee Application of Cravath,

Swaine & Moore LLP for Allowance of Compensation and Reimbursement of Expenses as Special

Counsel for the Debtors for the Period from April 14, 2020 Through August 27, 2020 (the “Fee

Application,”       a    copy      of    which      is   attached      hereto)      for    approval      before      the



1
     The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596. Due to
     the large number of debtor entities in these chapter 11 cases, for which the Court has ordered joint administration,
     a complete list of the debtor entities and the last four digits of their federal tax identification numbers are not
     provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
     noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’ service address for purposes of
     these chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.



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Honorable Robert D. Drain of the United States Bankruptcy Court for the Southern District of

New York (the “Court”), on November 20, 2020, at 10:00 a.m., prevailing Eastern Time.

         PLEASE TAKE FURTHER NOTICE that, in accordance with General Order M-543

dated March 20, 2020, the Hearing may be conducted telephonically. Any parties wishing to

participate must do so telephonically by making arrangements through CourtSolutions online at

https://www.court-solutions.com/.

         PLEASE TAKE FURTHER NOTICE that any responses or objections (each,

an “Objection”) to the Fee Application and the relief requested therein shall be in writing, shall

conform to the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”), and the Final Order (I) Establishing Certain

Notice, Case Management, and Administrative Procedures and (II) Granting Related Relief

[Docket No. 390], shall set forth the basis for the Objection and the specific grounds therefore, and

shall be filed with the Court electronically in accordance with General Order M-399 by registered

users of the Court’s case filing system (the User’s Manual for the Electronic Case Filing System

can be found at http://www.nysb.uscourts.gov, the official website for the Court), and shall be

served so as to be actually received no later than November 13, 2020, at 4:00 p.m., prevailing

Eastern Time.

         PLEASE TAKE FURTHER NOTICE that, if no Objections are timely filed and served

with respect to the Fee Application, the Debtors shall, on or after the objection deadline, submit

an order to the Court, which order the Court may enter with no further notice or opportunity to be

heard.

         PLEASE TAKE FURTHER NOTICE that the hearing may be continued or adjourned

thereafter from time to time without further notice other than an announcement of the adjourned



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date or dates at the hearing. The Debtors will file an agenda before the hearing, which may modify

or supplement the Fee Application to be heard at the hearing.

        PLEASE TAKE FURTHER NOTICE that copies of the Fee Application may be

obtained      free    of   charge     by   visiting   the   website   of   Prime   Clerk      LLC   at

https://cases.primeclerk.com/ftr. You may also obtain copies of any pleadings by visiting the

Court’s website at http://www.nysb.uscourts.gov in accordance with the procedures and fees set

forth therein.

Dated: October 30, 2020                    /s/ Stephen E. Hessler
New York, New York                         Stephen E. Hessler, P.C.
                                           Mark McKane, P.C. (admitted pro hac vice)
                                           Patrick Venter
                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                           601 Lexington Avenue
                                           New York, New York 10022
                                           Telephone:     (212) 446-4800
                                           Facsimile:     (212) 446-4900
                                           - and -
                                           Chad J. Husnick, P.C.
                                           Benjamin M. Rhode (admitted pro hac vice)
                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                           300 North LaSalle Street
                                           Chicago, Illinois 60654
                                           Telephone:     (312) 862-2000
                                           Facsimile:     (312) 862-2200

                                           Counsel to the Debtors and Debtors in Possession




                                                      3
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   CRAVATH, SWAINE & MOORE LLP
   825 Eighth Avenue
   New York, New York 10019
   Telephone: (212) 474-1000
   Facsimile: (212) 474-3700

   Special Counsel to the Debtors and Debtors in Possession

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    FRONTIER COMMUNICATIONS                                      ) Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                                        )
                                                                 )
                                Debtors.                         ) (Jointly Administered)
                                                                 )

                SUMMARY COVER SHEET TO THE FINAL FEE
           APPLICATION OF CRAVATH, SWAINE & MOORE LLP FOR
          ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
      EXPENSES AS SPECIAL COUNSEL FOR THE DEBTORS FOR THE PERIOD
               FROM APRIL 14, 2020 THROUGH AUGUST 27, 2020

                                     General Information
    Name of Applicant                      Cravath, Swaine & Moore LLP
                                           Counsel to Frontier Communications
    Authorized to Provide Services to:
                                           Corporation., et al.
    Petition Date                          April 14, 2020
    Date Order of Employment Signed                       May 26, 2020 [Docket No. 392]
    Time Period Covered by This Fee           Beginning of Period  End of Period
    Application                                   April 14, 2020   August 27, 2020
          Summary of Total Fees and Expenses Sought in This Fee Application
    Amount of Compensation sought as actual, reasonable, and
    necessary:                                                           $442,870.50
    Amount of Expenses sought as actual, reasonable, and
                                                                          $17,879.60
    necessary:

        1
          The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596.
   Due to the large number of debtor entities in these chapter 11 cases, for which the Court has ordered joint
   administration, a complete list of the debtor entities and the last four digits of their federal tax identification
   numbers are not provided herein. A complete list of such information may be obtained on the website of the
   Debtors’ claims and noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’ service
   address for purposes of these chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.


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     Total Compensation and Expense Reimbursement Requested:                                            $460,750.10

     This is a:                                                                               Final Application
              Summary of Past Requests for Compensation and Prior Payments
     Total Amount of Compensation Previously Requested
     Pursuant
     to the Interim Compensation Order to Date:2                         $442,870.50
     Total Amount of Expense Reimbursement Previously
     Requested Pursuant to the Interim Compensation Order to               $17,879.60
           3
     Date:
     Total Compensation Approved Pursuant to the Interim
                                                                                $0.00
     Compensation Order to Date:
     Total Amount of Expense Reimbursement Approved
                                                                                $0.00
     Pursuant to the Interim Compensation Order to Date:
     Total Allowed Compensation Paid to Date:                                   $0.00
     Total Allowed Expenses Paid to Date:                                       $0.00
     Compensation Sought in this Application Already Paid
     Pursuant to the Interim Compensation Order But Not Yet              $304,750.80
               4
     Allowed:
     Expenses Sought in this Application Already Paid Pursuant
     to                                                                    $16,799.04
     the Interim Compensation Order But Not Yet Allowed:5

                                  SUMMARY OF FINAL FEE APPLICATION
                                    Total Compensation and    Total Amount Previously                                  Holdback
                                     Expenses Incurred for     Requested with Prior      Total Amount Paid to Date       Fees
    Date Filed        Period
                                        Period Covered         Monthly Fee Statement                                   Requested
    and Dkt No.      Covered
                                                                Fees         Expenses       Fees           Expenses      Fees
                                      Fees       Expenses
                                                              (@ 80%)       (@ 100%)      (@ 80%)         (@ 100%)     (@ 20%)
     07/13/2020     04/14/20 –
                                   $380,938.50   $16,799.04   $304,750.80   $16,799.04   $304,750.806     $16,799.04   $76,187.70
    Dkt. No. 708     05/31/20
     10/30/2020     06/01/20 –
                                   $24,679.50    $1,080.56    $19,743.60    $1,080.56       $0.00           $0.00      $4,935.90
    Dkt. No. 1266    06/30/20
     10/30/2020     07/01/20 –
                                   $28,871.00      $0.00      $23,096.80      $0.00         $0.00           $0.00      $5,774.20
    Dkt. No. 1267    07/31/20
     10/30/2020     08/01/20 –
                                    $8,381.50      $0.00       $6,705.20      $0.00         $0.00           $0.00      $1,676.30
    Dkt. No. 1268    08/27/20
    Total:                         $442,870.50   $17,879.60   $354,296.40   $17,879.60   $304,750.80      $16,799.04   $88,574.10


             Summary of Any Objections to Monthly Fee Statements: None
             Compensation and Expenses Sought in this Application Not Yet Paid: $139,200.26



         2
           Reflects 100% of compensation requested pursuant to monthly fee statements filed at Docket Nos. 708,
   1266, 1267 and 1268 (each, a “Monthly Fee Statement”).
        3
           Reflects 100% of expense reimbursement requested pursuant to the Monthly Fee Statements for the
   months of April-May, June, July, and August, 2020.
        4
           Reflects 80% of compensation requested pursuant to April-May Monthly Fee Statement.
        5
           Reflects 100% of expense reimbursement requested pursuant to the April-May Monthly Fee Statement.
        6
           This amount was partially satisfied through the application of $172,162.60 advance payment received
   by Cravath prepetition.



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    October 30, 2020                                   Respectfully submitted,

                                                       /s/ Paul H. Zumbro
                                                       CRAVATH, SWAINE & MOORE LLP
                                                       825 Eighth Avenue
                                                       New York, New York 10019
                                                       Telephone: (212) 474-1000
                                                       Facsimile: (212) 474-2000



                                                       Special Counsel to the Debtors and Debtors in Possession




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   New York, New York 10019
   Telephone: (212) 474-1000
   Facsimile: (212) 474-3700

   Special Counsel to the Debtors and Debtors in Possession

   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    FRONTIER COMMUNICATIONS                                      ) Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                                        )
                                                                 )
                                Debtors.                         ) (Jointly Administered)
                                                                 )

                 FINAL FEE APPLICATION OF CRAVATH,
      SWAINE & MOORE LLP FOR ALLOWANCE OF COMPENSATION AND
   REIMBURSEMENT OF EXPENSES AS SPECIAL COUNSEL FOR THE DEBTORS
       FOR THE PERIOD FROM APRIL 14, 2020 THROUGH AUGUST 27, 2020

             Cravath, Swaine & Moore LLP (“Cravath”), as special counsel for the above-

   captioned debtors and debtors in possession (collectively, the “Debtors”), hereby submits this

   final fee application (this “Fee Application”) for allowance of compensation for professional

   services provided in the amount of $442,870.50 and reimbursement of actual and necessary

   expenses in the amount of $17,879.60 that Cravath incurred for the period from April 14,

   2020 through August 27, 2020 (the “Fee Period”). In support of this Fee Application, Cravath

   submits the certification of Paul H. Zumbro, a partner at Cravath, which is attached hereto as




        1
          The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596.
   Due to the large number of debtor entities in these chapter 11 cases, for which the Court has ordered joint
   administration, a complete list of the debtor entities and the last four digits of their federal tax identification
   numbers are not provided herein. A complete list of such information may be obtained on the website of the
   Debtors’ claims and noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’ service
   address for purposes of these chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.


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   Exhibit A and incorporated by reference (the “Certification”). In further support of this Fee

   Application, Cravath respectfully states as follows.

                                                      Jurisdiction

             1.         The United States Bankruptcy Court for the Southern District of New York

   (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

   is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

             2.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

             3.         The bases for the relief requested herein are sections 330 and 331 of title 11 of

   the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), rule 2016 of the

   Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-1(a) of the Local

   Bankruptcy Rules for the United States Bankruptcy Court for the Southern District of New

   York (the “Local Rules”), the Amended Guidelines for Fees and Disbursements for

   Professionals in Southern District of New York Bankruptcy Cases, the Order Establishing

   Procedures for Interim Compensation and Reimbursement of Expenses for Retained

   Professionals [Docket No. 88] (the “Interim Compensation Order”), and the Findings of Fact,

   Conclusions of Law, and Order Confirming the Fifth Amended Joint Plan of Reorganization

   of Frontier Communications Corporation and its Debtor Affiliates Pursuant to Chapter 11 of

   the Bankruptcy Code [Docket No. 1005] (the “Confirmation Order”).

                                                      Background

             4.         Beginning on April 14, 2020 (the “Petition Date”), the Debtors each

   commenced with this Court a voluntary case under chapter 11 of the Bankruptcy Code.

   The Debtors are authorized to operate their businesses and manage their properties as

   debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

   On April 17, 2020, the Court entered an order [Docket No. 78] authorizing the joint


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   administration and procedural consolidation of the Debtors’ chapter 11 cases pursuant to

   Bankruptcy Rule 1015(b). No entity has requested the appointment of a trustee or examiner

   in these chapter 11 cases. On April 23, 2020, the United States Trustee for the Southern

   District of New York (the “U.S. Trustee”) appointed an official committee of unsecured

   creditors pursuant to section 1102 of the Bankruptcy Code [Docket No. 142].

             5.         On April 20, 2020, the Court entered the Interim Compensation Order, which

   sets forth the procedures for interim compensation and reimbursement of expenses for all

   estate professionals in these chapter 11 cases.

                                            The Debtors’ Retention of Cravath

             6.         On May 1, 2020, the Debtors filed the Debtors’ Application for Entry of an

   Order Authorizing the Retention and Employment Cravath, Swaine & Moore LLP as Special

   Counsel for the Debtors Effective as of April 14, 2020 [Docket No. 192] (the “Retention

   Application”). On May 26, 2020, the Court entered the Order Authorizing the Retention and

   Employment of Cravath, Swaine & Moore LLP as Special Counsel for the Debtors Effective

   as of April 14, 2020 [Docket No. 392] (the “Retention Order”), incorporated by reference.

             7.         The Retention Order authorizes the Debtors to compensate and reimburse

   Cravath in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and

   the Interim Compensation Order. Further, the Retention Order authorizes the Debtors to

   compensate Cravath at Cravath’s hourly rates charged for services of this type and to

   reimburse Cravath for Cravath’s actual and necessary out-of-pocket expenses incurred,

   subject to application to this Court.

             8.         Cravath advised the Debtors in connection with the Northwest Sale (as defined

   in the Retention Application). Since the closing of the Northwest Sale, Cravath has continued

   to advise the Debtors with respect to post-closing matters relating to the Northwest Sale and


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   on other corporate matters, including with respect to negotiations of certain commercial

   agreements and licenses. Cravath may receive requests from time to time from the Debtors

   with respect to any new sale or other transactional matters that may arise during these

   chapter 11 cases or any litigation matters connected with the Northwest Sale. The Debtors

   did not seek to employ Cravath as general or special bankruptcy counsel, or for Cravath to

   advise the Debtors or their estates with respect to their duties under the Bankruptcy Code.

   The Retention Order authorizes Cravath to provide the foregoing services to the Debtors.

                       Summary of Compliance with Interim Compensation Order

             9.         This Fee Application has been prepared in accordance with the Interim

   Compensation Order.

             10.        Cravath seeks final compensation for professional services rendered to the

   Debtors during the Fee Period in the amount of $442,870.50 and reimbursement of actual and

   necessary expenses incurred in connection with providing such services in the amount of

   $17,879.60. During the Fee Period, Cravath attorneys and paraprofessionals expended a total

   of 541.80 hours for which compensation is requested.

             11.        In accordance with the Interim Compensation Order, as of the date hereof,

   Cravath has received payments totaling $321,549.842 ($304,750.80 of which was for services

   provided and $16,799.04 of which was for reimbursement of expenses) for the Fee Period.

   Accordingly, by this Fee Application, and to the extent such amounts have not been paid by

   the time of the hearing on this Fee Application, Cravath seeks payment of the remaining




        2
          This amount was partially satisfied through the application of $172,162.60 advance payment received by
   Cravath prepetition.



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   $139,200.26, which amount represents the entire amount of unpaid fees and expenses incurred

   from April 14, 2020 through August 27, 2020.

                                 Fees and Expenses Incurred During Fee Period

             12.        Cravath is seeking compensation for its services in accordance with its

   customary practices and the applicable provisions of the Bankruptcy Code, the Bankruptcy

   Rules, Local Rules, and the Interim Compensation Order. In those matters in which Cravath

   charges clients on an hourly basis, Cravath charges based on the actual hours expended to

   perform its services, at standard hourly rates established for each professional, which hourly

   rates are subject to annual adjustment.                The current hourly billing rates for Cravath

   professionals expected to spend significant time on the engagement range from $1,170 to

   $1,725 for partners and of counsel, $635 to $1,210 for associates, and $310 to $395 for

   paralegals. In addition to the hourly billing rates of each professional, Cravath customarily

   charges its clients for all reimbursable expenses incurred, including photocopying charges,

   messengers, courier mail, overtime, overtime meals, late night transportation, travel, lodging,

   meal charges for business meetings, postage, printing, transcripts, filing fees, computer

   research, and similar items.

             13.        Attached hereto as Exhibit B is a summary of blended hourly rates for

   timekeepers who billed to non-bankruptcy matters and blended hourly rates for those

   timekeepers who billed for services on behalf of the Debtors during the Fee Period.

             14.        Attached hereto as Exhibit C is a summary of fees incurred and hours

   expended during the Fee Period, setting forth the following information:

                        a.         the name of each attorney and paraprofessional for whose work on
                                   these chapter 11 cases compensation is sought;

                        b.         each attorney’s year of bar admission and area of practice
                                   concentration;


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                        c.         the aggregate time expended and fees billed by each attorney and each
                                   paraprofessional during the Fee Period;

                        d.         the hourly billing rate for each attorney and each paraprofessional at
                                   Cravath’s current billing rates;

                        e.         the number of rate increases since the inception of the case; and

                        f.         a calculation of total compensation requested using the rates disclosed
                                   in the Retention Application.

             15.        The following is a schedule setting the matter categories utilized in this case,

   the number of hours expended by Cravath partners, associates, and paraprofessionals by

   matter, and the aggregate fees associated with each matter:

            TASK
                                            TASK DESCRIPTION                      HOURS           AMOUNT
            CODE
    ASST                         Asset Disposition                                  315.00        $269,067.00
    CASE                         Case Administration                                 15.30          $9,276.00
    CORP                         General Corporate Advisory                          36.90         $29,695.00
    CRAV                         Employment and Fee Application                      49.40         $35,569.50
    HEAR                         Hearings and Court Matters                          18.10          $5,831.00
    LITG                         Litigation                                          12.00         $10,740.00
    OPRS                         Business Operations                                 95.10         $82,710.00
     TOTAL                                                                          541.80        $442,870.50

             16.        Attached hereto as Exhibit D is a summary for the Fee Period, setting forth

   the total amount of reimbursement sought with respect to each category of expenses for which

   Cravath is seeking reimbursement.

             17.        Cravath’s detailed records of time expended and expenses incurred in

   providing professional services to the Debtors and their estates are attached hereto as

   Exhibit E.

                             Actual and Necessary Expenses Incurred by Cravath

             18.        As summarized in Exhibit D attached hereto, Cravath incurred a total of

   $17,879.60 in expenses on behalf of the Debtors during the Fee Period. These charges are



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   intended to reimburse Cravath’s direct operating costs, which are not incorporated into the

   Cravath hourly billing rates. Only clients who actually use services of the types set forth in

   Exhibit D of this Fee Application are separately charged for such services.

                   Cravath’s Compensation and Reimbursement Should Be Allowed

             19.        Section 330 of the Bankruptcy Code provides that a court may award a

   professional employed under section 327 of the Bankruptcy Code “reasonable compensation

   for actual, necessary services rendered . . . and reimbursement for actual, necessary expenses.”

   11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of such

   compensation and reimbursement:

             In determining the amount of reasonable compensation to be awarded . . . ,
             the court shall consider the nature, the extent, and the value of such services,
             taking into account all relevant factors, including—

             (A)        the time spent on such services;

             (B)        the rates charged for such services;

             (C)        whether the services were necessary to the administration of, or beneficial at
                        the time at which the service was rendered toward the completion of, a case
                        under this title;

             (D)        whether the services were performed within a reasonable amount of time
                        commensurate with the complexity, importance, and nature of the problem,
                        issue, or task addressed; and

             (E)        whether the compensation is reasonable based on the customary
                        compensation charged by comparably skilled practitioners in cases
                        other than cases under this title.

   11 U.S.C. § 330(a)(3).

             20.        Cravath respectfully submits that the services for which it seeks compensation

   in this Fee Application were, at the time rendered, necessary for and beneficial to the Debtors

   and their estates and were rendered to protect and preserve the Debtors’ estates. Cravath

   further believes that it performed such services economically, effectively, and efficiently, and



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   the results obtained benefited not only the Debtors, but also the Debtors’ estates and the

   Debtors’ constituents. Cravath further submits that the compensation requested herein is

   reasonable in light of the nature, extent, and value of such services to the Debtors, their estates,

   and all parties in interest.

             21.        During the Fee Period, Cravath’s hourly billing rates for professionals who

   billed time during the Fee Period for the matters set forth herein ranged from $1,170 to $1,750

   for partners, $635 to $1,210 for associates, and $310 to $395 for paralegals and litigation

   managers. The hourly rates utilized by Cravath in these chapter 11 cases are equivalent to the

   hourly rates used by Cravath for restructuring, bankruptcy, and comparable matters and

   similar complex corporate and litigation matters, whether in court or otherwise, regardless of

   whether a fee application is required. Cravath strives to be efficient in the staffing of matters.

             22.        Moreover, Cravath’s hourly rates are set at a level designed to compensate

   Cravath fairly for the work of its attorneys and paraprofessionals and to cover certain fixed

   and routine overhead expenses. Hourly rates vary with the experience and seniority of the

   individuals assigned. These hourly rates are subject to periodic adjustments to reflect

   economic and other conditions and are consistent with the rates charged elsewhere.

             23.        In sum, Cravath respectfully submits that the professional services provided

   by Cravath on behalf of the Debtors and their estates during these chapter 11 cases were

   necessary and appropriate given the complexity of the matters, the time expended by Cravath,

   the nature and extent of Cravath’s services provided, the value of Cravath’s services, and the

   cost of comparable services outside of bankruptcy, all of which are relevant factors set forth

   in section 330 of the Bankruptcy Code. Accordingly, Cravath respectfully submits that

   approval of the compensation sought herein is warranted and should be approved.




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                                                         Notice

             24.        The Debtors will provide notice of this Fee Application in accordance with the

   Interim Compensation Order. Cravath submits that, in light of the nature of the relief

   requested, no other or further notice need be given.

                                                   No Prior Request

             25.        No prior application for the relief requested herein has been made to this or

   any other court.

                                      [Remainder of page intentionally left blank.]




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             WHEREFORE, Cravath respectfully requests that the Court enter an order

   (a) approving and allowing on a final basis compensation for professional services provided

   by Cravath during the Fee Period in an amount of $442,870.50 and reimbursement of actual,

   reasonable, and necessary expenses incurred in the Fee Period in an amount of $17,879.60;

   (b) authorizing and directing the Debtors to remit payment to Cravath for such fees and

   expenses; and (c) granting such other relief as is appropriate under the circumstances.

    October 30, 2020                                   Respectfully submitted,

                                                       /s/ Paul H. Zumbro
                                                       CRAVATH, SWAINE & MOORE LLP
                                                       825 Eighth Avenue
                                                       New York, New York 10019
                                                       Telephone: (212) 474-1000
                                                       Facsimile: (212) 474-2000



                                                       Special Counsel to the Debtors and Debtors in Possession




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                                                       Exhibit A

                                                     Certification




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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

                                                                 )
    In re:                                                       ) Chapter 11
                                                                 )
    FRONTIER COMMUNICATIONS                                      ) Case No. 20-22476 (RDD)
    CORPORATION, et al.,1                                        )
                                                                 )
                                Debtors.                         ) (Jointly Administered)
                                                                 )

        CERTIFICATION OF PAUL H. ZUMBRO IN SUPPORT OF FINAL FEE
    APPLICATION OF CRAVATH, SWAINE & MOORE LLP FOR ALLOWANCE OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES AS SPECIAL
               COUNSEL FOR THE DEBTORS FOR THE PERIOD
               FROM APRIL 14, 2020 THROUGH AUGUST 27, 2020

             I, Paul H. Zumbro, being duly sworn, state the following under penalty of perjury:

             1.         I am a partner in the law firm of Cravath, Swaine & Moore LLP (“Cravath”),

   which has offices located at 825 Eighth Avenue, New York, NY 10019. I am a member in

   good standing of the Bar of the State of New York. There are no disciplinary proceedings

   pending against me.

             2.         I have read the foregoing final fee application of Cravath (the “Fee

   Application”), as special counsel to the Debtors, for the Fee Period.2 To the best of my

   knowledge, information, and belief, the statements therein are true and correct. In addition,

   I believe that the Fee Application complies with Local Rule 2016-1 and the Amended

   Guidelines for Fees and Disbursements for Professionals in Southern District of New York

   Bankruptcy Cases.


         1
          The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596.
   Due to the large number of debtor entities in these chapter 11 cases, for which the Court has ordered joint
   administration, a complete list of the debtor entities and the last four digits of their federal tax identification
   numbers are not provided herein. A complete list of such information may be obtained on the website of the
   Debtors’ claims and noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’ service
   address for purposes of these chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.
        2
          Capitalized terms used but not defined herein shall have the meanings set forth in the Fee Application.


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             3.         In connection therewith, I hereby certify that:

                        a.         to the best of my knowledge, information, and belief, formed after
                                   reasonable inquiry, the fees and disbursements sought in the Fee
                                   Application are permissible under the relevant rules, court orders, and
                                   Bankruptcy Code provisions, except as specifically set forth herein;

                        b.         except to the extent disclosed in the Fee Application, the fees and
                                   disbursements sought in the Fee Application are billed at rates
                                   customarily employed by Cravath and generally accepted by Cravath’s
                                   clients. In addition, none of the professionals seeking compensation
                                   varied their hourly rate based on the geographic location of the
                                   Debtors’ cases;

                        c.         in providing a reimbursable expense, Cravath does not make a profit
                                   on that expense, whether the service is performed by Cravath in-house
                                   or through a third party;

                        d.         in accordance with Rule 2016(a) of the Federal Rules of Bankruptcy
                                   Procedure and 11 U.S.C. § 504, no agreement or understanding exists
                                   between Cravath and any other person for the sharing of compensation
                                   to be received in connection with the above cases except as authorized
                                   pursuant to the Bankruptcy Code, Bankruptcy Rules, or Local Rules;
                                   and

                        e.         all services for which compensation is sought were professional
                                   services on behalf of the Debtors and not on behalf of any other person.

             4.         In accordance with the Guidelines for Reviewing Applications for

   Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

   Larger Chapter 11 Cases, effective November 1, 2013, I hereby provide the following

   responses:

                        a.         Did you agree to any variations from, or alternatives to, your standard
                                   or customary billing rates, fees or terms for services pertaining to this
                                   engagement that were provided during the application period? If so,
                                   please explain.

                                   No.

                        b.         If the fees sought in this fee application as compared to the fees
                                   budgeted for the time period covered by this fee application are higher
                                   by 10% or more, did you discuss the reasons for the variation with the
                                   client?



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                                   Response: Not applicable.

                        c.         Have any of the professionals included in this fee application varied
                                   their hourly rate based on the geographic location of the bankruptcy
                                   case?

                                   Response: No.

                        d.         Does the fee application include time or fees related to reviewing or
                                   revising time records or preparing, reviewing, or revising invoices?
                                   (This is limited to work involved in preparing and editing billing
                                   records that would not be compensable outside of bankruptcy and does
                                   not include reasonable fees for preparing a fee application.). If so,
                                   please quantify by hours and fees.

                                   Response: Yes. Approximately 2.2 hours; approximately $1,713.003

                        e.         Does this fee application include time or fees for reviewing time
                                   records to redact any privileged or other confidential information? If
                                   so, please quantify by hours and fees.

                                   Response: Yes. Approximately 2.2 hours; approximately $1,713

                        f.         If the fee application includes any rate increases since retention, did
                                   your client review and approve those rate increases in advance?

                                   Response: No.

                                     [Remainder of page intentionally left blank.]




         3
         Time records were reviewed by certain Cravath timekeepers for privileged and confidential information.
   The amount included here reflects the portion of such timekeepers’ time billed for time record review during the
   Fee Period.


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             Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

   true and correct to the best of my knowledge and belief.

   Dated: October 30, 2020                             Respectfully submitted,

                                                       /s/ Paul H. Zumbro
                                                       Paul H. Zumbro
                                                       Partner
                                                       Cravath, Swaine & Moore LLP




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                                                        Exhibit B

                                                 Blended Hourly Rates

                                                        BLENDED HOURLY RATE
                   Category of
                   Timekeeper                 Billed by timekeepers in        Billed in this Fee
                                                all domestic offices1           Application
              Partners                                $1,500.94                   $1,718.10
              Associates                               $839.21                     $863.04
              Paraprofessionals                        $370.36                     $328.18




         1
           In accordance with the Guidelines for Reviewing Applications for Compensation and Reimbursement of
   Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013,
   the preceding year is a rolling 12 months year ending August 31, 2020; blended rates reflect aggregate work
   performed in the preceding year in Cravath’s New York office (its sole domestic office) by all its timekeepers
   in each category.


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                                                       Exhibit C

             Summary of Total Fees Incurred and Hours Billed During the Fee Period




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                                   Attorneys’ and Paraprofessionals’ Information

           The Cravath attorneys who rendered professional services related to the cases during
    the Fee Period are:

   NAME OF                              TOTAL
                          YEAR   HOURLY           TOTAL
PROFESSIONAL DEPARTMENT                 HOURS
                        ADMITTED  RATE         COMPENSATION
  PARTNERS:                             BILLED
Andrew W. Needham                      Tax              1995       $1,725        1.20           $2,070.00
Robert I. Townsend III             Corporate            1991       $1,725       16.10          $27,772.50
Paul H. Zumbro                     Corporate            1998       $1,725        2.50           $4,312.50
Eric W. Hilfers                        Tax              1999       $1,725        0.70           $1,207.50
Keith O. Hallam III                Corporate            2008       $1,435        0.50            $717.50
Total Partners:                                                                 21.00          $36,080.00



   NAME OF                              TOTAL
                          YEAR   HOURLY           TOTAL
PROFESSIONAL DEPARTMENT                 HOURS
                        ADMITTED  RATE         COMPENSATION
 ASSOCIATES:                            BILLED
Nicole F. Foster                       Tax              2004       $1,200       13.50          $16,200.00
Brian M. Budnick                   Corporate            2012       $1,200        3.90           $3,978.00
Matthew G. Jones                   Corporate            2014        $990        50.90          $50,391.00
Alexander Gerten                   Corporate            2017        $910        20.60          $18,746.00
Nathan H. Trunnell                 Corporate            2017        $910       125.80         $114,478.00
Sally Ye                               Tax              2017        $910        19.00          $17,290.00
Xifeng Xi                              Tax              2012        $910         2.60           $2,366.00
Alexander L. Mills                 Litigation           2018        $895        12.00          $10,740.00
Kyra E. Ferber                     Corporate            2019        $795       144.20         $114,639.00
Somi Umolu                         Corporate            2019        $795         6.10           $4,849.50
Lavinia M. Borzi                   Corporate            2020        $635        42.40          $26,924.00
Total Associates:                                                              441.00         $380,601.50




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          The paraprofessionals of Cravath who rendered professional services during the Fee
   Period are:

                                       TOTAL
       NAME OF                  HOURLY           TOTAL
                     DEPARTMENT        HOURS
  PARAPROFESSIONALS:             RATE         COMPENSATION
                                       BILLED
  Matthew Green                                Legal Assistant     $360      0.50            $180.00
  Michael Kotowski                             Legal Assistant     $330     49.80          $16,434.00
  Laoure Louche                                Legal Assistant     $330      1.00            $330.00
  Veronica Velasco                            Litigation Support   $330     20.50           $6,765.00
  Brianna Sturkey                             Litigation Support   $310      8.00           $2,480.00
  Total Paraprofessionals:                                                  79.80          $26,189.00




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                                                       Exhibit D

                     Summary of Actual and Necessary Expenses for the Fee Period

    EXPENSES                                                                           AMOUNTS
    Special Disbursements (State Filing Fees, Document Retrieval)                       $17,164.20
    Conf. Call/Voice/Data                                                                 $237.06
    Computerized Research/Database Research                                                $478.34
    Total Expenses Requested:                                                           $17,879.60




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                                                       Exhibit E

                   Detailed Description of Services Provided and Expenses Incurred




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                                                First Monthly Fee Period

                              Detailed Description of Time Records and Expenses

                                           April 14, 2020 through May 31, 2020




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      NAME OF                              TOTAL
                             YEAR   HOURLY           TOTAL
   PROFESSIONAL DEPARTMENT                 HOURS
                           ADMITTED  RATE         COMPENSATION
     PARTNERS:                             BILLED
   Robert I. Townsend               Corporate          1991      $1,725      15.80        $27,255.00
   III
   Paul H. Zumbro                   Corporate          1998      $1,725       2.50         $4,312.50
   Andrew W.                               Tax         1995      $1,725
                                                                                           $2,070.00
   Needham                                                                    1.20
   Eric W. Hilfers                         Tax         1999      $1,725       0.70         $1,207.50
   Keith O. Hallam III              Corporate          2008      $1,435       0.50          $717.50
   Total Partners:                                                           20.70        $35,562.50



     NAME OF                               TOTAL
                             YEAR   HOURLY           TOTAL
   PROFESSIONAL DEPARTMENT                 HOURS
                           ADMITTED  RATE         COMPENSATION
    ASSOCIATES:                            BILLED
   Nicole F. Foster                        Tax         2004      $1,200      13.40        $16,080.00
   Brian M. Budnick                 Corporate          2012      $1,200       3.90         $3,978.00
   Xifeng Xi                               Tax         2012       $910        2.60         $2,366.00
   Matthew G. Jones                 Corporate          2014       $990       50.30        $49,797.00
   Alexander Gerten                 Corporate          2017       $910       16.20        $14,742.00
   Nathan H. Trunnell               Corporate          2017       $910      110.60       $100,646.00
   Sally Ye                                Tax         2017       $910       18.30        $16,653.00
   Alexander L. Mills                Litigation        2018       $895       12.00        $10,740.00
   Kyra E. Ferber                   Corporate          2019       $795      114.40        $90,948.00
   Lavinia M. Borzi                 Corporate          2020       $635       30.00        $19,050.00
   Total Associates:                                                        371.70       $325,000.00




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                                                                  TOTAL
           NAME OF                                         HOURLY           TOTAL
                                                DEPARTMENT        HOURS
      PARAPROFESSIONALS:                                    RATE         COMPENSATION
                                                                  BILLED
    Matthew Green                                Legal Assistant     $360    0.50          $180.00
    Michael Kotowski                             Legal Assistant     $330   49.80        $16,434.00
    Laoure Louche                                Legal Assistant     $330    1.00          $330.00
    Veronica Velasco                            Litigation Support   $330   10.40         $3,432.00
    Total Paraprofessionals:                                                61.70        $20,376.00




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LEGAL SERVICES RENDERED

ASST - Use and Sale of Assets, Including 363 Sales
 Date       Name                Description                                    Hours    Amount     Task
04/14/20    Ferber, Kyra       Develop signature packets in advance of           1.10    874.50    ASST
                               closing.
04/14/20     Ferber, Kyra       Draft and revise Assignment and                  1.10    874.50    ASST
                                Assumption Agreement for the transfer of
                                excluded assets and excluded liabilities.
04/14/20     Ferber, Kyra       Attend to request from K. Saville                1.10    874.50    ASST
                                regarding transferred contracts.
04/14/20     Ferber, Kyra       Cravath internal call regarding closing          1.00    795.00    ASST
                                status.
04/14/20     Ferber, Kyra       Attention to emails from K&E regarding           1.00    795.00    ASST
                                release documents.
04/14/20     Ferber, Kyra       Attend to client requests from P. Garcia         1.10    874.50    ASST
                                and M. Golob.
04/14/20     Ferber, Kyra       Update closing checklist.                        1.10    874.50    ASST
04/14/20     Ferber, Kyra       Closing checklist call with Paul Weiss.          1.00    795.00    ASST
04/14/20     Trunnell, Nathan   Closing checklist call with Paul Weiss           0.50    455.00    ASST
                                team.
04/14/20     Trunnell, Nathan   Attention to closing deliverables and            0.90    819.00    ASST
                                transaction documents.
04/14/20     Trunnell, Nathan   Research questions from Frontier team.           1.00    910.00    ASST
04/14/20     Trunnell, Nathan   Email with Kirkland and Paul Weiss teams         0.50    455.00    ASST
                                re: release documents.
04/14/20     Trunnell, Nathan   Calls with CSM team to discuss timing            0.50    455.00    ASST
                                and process.
04/14/20     Gerten,            Correspondence as to conflicts process.          2.60   2,366.00   ASST
             Alexander
04/14/20     Kotowski,         Attention to creating signature page list for     3.40   1,122.00   ASST
             Michael           K. Ferber.
04/14/20     Townsend III, R I Telephone call re closing checklist and           0.80   1,380.00   ASST
                               timing.
04/14/20     Hallam III, O.     Attention to emails, calls.                      0.50    717.50    ASST
             Keith
04/14/20     Jones, Matthew     Conference calls re: closing workstreams.        1.00    990.00    ASST
04/14/20     Budnick, B         Discussion with N. Trunnell.                     0.20    204.00    ASST
04/15/20     Ferber, Kyra       Review and revise CBA assignment and             1.30   1,033.50   ASST
                                assumption agreements.
04/15/20     Ferber, Kyra       Revise excluded assets assignment and            1.30   1,033.50   ASST
                                assumption agreement.
04/15/20     Ferber, Kyra       Update closing checklist coordinate              1.30   1,033.50   ASST
                                signature pages.
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Date       Name                Description                                    Hours    Amount     Task
04/15/20   Ferber, Kyra        Discuss commercial agreement with client         1.40   1,113.00   ASST
                               and Cravath teams.
04/15/20   Ferber, Kyra        Review and compile list of pre-closing           1.40   1,113.00   ASST
                               deliverables in response to client question
                               regarding bankruptcy.
04/15/20   Ferber, Kyra        Attend to client requests.                       1.30   1,033.50   ASST
04/15/20   Trunnell, Nathan    Review draft Assignment and Assumption           1.50   1,365.00   ASST
                               Agreement and provide comments.
04/15/20   Trunnell, Nathan    Draft side letter to commercial agreement.       1.20   1,092.00   ASST
04/15/20   Trunnell, Nathan    Email with team regarding bankruptcy             0.50    455.00    ASST
                               court filings relating to sale transaction.
04/15/20   Trunnell, Nathan    Attention to transaction documents to            1.50   1,365.00   ASST
                               answer questions from K. Saville re:
                               timing and bankruptcy process.
04/15/20   Gerten,             Reviewing amended sale motion, motion            3.70   3,367.00   ASST
           Alexander           to shorten time and motion to seal at
                               request of Frontier.
04/15/20   Foster, Nicole F.   Emails regarding employees on short term         0.50    600.00    ASST
                               disability and review of purchase
                               agreement.
04/15/20   Borzi, Lavinia M. Review of sale motions.                            1.00    635.00    ASST
04/15/20   Kotowski,           Attention to creating signature pages for        1.90    627.00    ASST
           Michael             K. Ferber.
04/15/20   Kotowski,           Attention to creating signature pages for        1.80    594.00    ASST
           Michael             K. Ferber.
04/15/20   Zumbro, P           Attention to sale document-related               0.20    345.00    ASST
                               pleadings and related correspondence.
04/15/20   Jones, Matthew      Attention to closing items.                      1.30   1,287.00   ASST
04/16/20   Ferber, Kyra        Respond to client questions.                     1.00    795.00    ASST
04/16/20   Ferber, Kyra        Review list of Master Agreements per             1.00    795.00    ASST
                               client request.
04/16/20   Ferber, Kyra        Develop list of follow up notices per client     1.00    795.00    ASST
                               request.
04/16/20   Ferber, Kyra        Draft and revise wholesale A&A                   1.00    795.00    ASST
                               agreement.
04/16/20   Ferber, Kyra        Draft LLC transfer unit power documents.         1.00    795.00    ASST
04/16/20   Ferber, Kyra        Call with client regarding estimated             1.00    795.00    ASST
                               closing statement.
04/16/20   Ferber, Kyra        Revise vendor A&A Agreement.                     1.00    795.00    ASST
04/16/20   Ferber, Kyra        Revise closing checklist.                        1.00    795.00    ASST
04/16/20   Ferber, Kyra        Call with client re: Master Agreements.          1.00    795.00    ASST
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Date       Name                Description                                    Hours    Amount     Task
04/16/20   Kotowski,          Attention to creating signature packets           9.30   3,069.00   ASST
           Michael            including creating closing deliverables
                              time line and organizing filed foreign
                              registration documents for K. Ferber.
04/16/20   Trunnell, Nathan   Review and comment on wholesale                   0.80    728.00    ASST
                              assignment and assumption agreement.
04/16/20   Trunnell, Nathan   Review and comment on signature packet.           0.80    728.00    ASST
04/16/20   Trunnell, Nathan   Attention to LLC interest transfer power          0.80    728.00    ASST
                              and other closing deliverables.
04/16/20   Trunnell, Nathan   Review draft vendor assignment and                0.80    728.00    ASST
                              assumption agreement.
04/16/20   Trunnell, Nathan   Call with Frontier to discuss Master              0.80    728.00    ASST
                              Agreements.
04/16/20   Trunnell, Nathan   Call with Frontier team to discuss                0.70    637.00    ASST
                              estimated closing statement.
04/16/20   Trunnell, Nathan   Revise draft estimated closing statement          0.70    637.00    ASST
                              based on feedback.
04/17/20   Kotowski,          Attention to reviewing invoices and               2.80    924.00    ASST
           Michael            compiling executed copies for K. Ferber.
04/17/20   Jones, Matthew     Attention to closing items and discussion         1.00    990.00    ASST
                              with contractual counterparties regarding
                              rights under SPA.
04/17/20   Trunnell, Nathan   Email with Frontier team re: redactions to        0.90    819.00    ASST
                              TSA filed with bankruptcy court.
04/17/20   Trunnell, Nathan   Attention to applicable contracts.                0.90    819.00    ASST
04/17/20   Trunnell, Nathan   Calls with McGuireWoods and Frontier              0.90    819.00    ASST
                              teams to discuss background on applicable
                              contracts.
04/17/20   Trunnell, Nathan   Email with ECB team at CS&M re: side              0.90    819.00    ASST
                              letter for short-term disability liabilities.
04/17/20   Trunnell, Nathan   Call with K&E team to discuss contracts           0.90    819.00    ASST
                              going with the Companies in
                              reorganization plan and questions from
                              Frontier counterparty re: particular
                              contracts.
04/17/20   Trunnell, Nathan   Call with Ballard Spahr attorney                  0.90    819.00    ASST
                              representing counterparty.
04/17/20   Trunnell, Nathan   Call with Frontier team to discuss                0.80    728.00    ASST
                              extension of certain IP rights in connection
                              with sale transaction.
04/18/20   Trunnell, Nathan   Email with CS&M ECB team re: side                 0.70    637.00    ASST
                              letter for short term disability liabilities.
04/19/20   Jones, Matthew     Conference calls re: bankruptcy issues in         1.20   1,188.00   ASST
                              connection with M&A closing.
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Date       Name               Description                                   Hours    Amount     Task
04/19/20   Trunnell, Nathan   Calls with K&E, McGuireWoods, Ballard           1.40   1,274.00   ASST
                              Spahr and Frontier teams to discuss
                              questions from Frontier counterparty re:
                              assumption of contracts.
04/20/20   Ferber, Kyra       Closing checklist call with Paul Weiss.         0.80    636.00    ASST
04/20/20   Ferber, Kyra       Revise closing deliverables.                    0.80    636.00    ASST
04/20/20   Ferber, Kyra       Coordinate Seller KYC and other closing         0.80    636.00    ASST
                              deliverables with K Saville.
04/20/20   Ferber, Kyra       Update call with CSM team in advance of         0.80    636.00    ASST
                              Closing.
04/20/20   Ferber, Kyra       Revise and update closing checklist.            0.80    636.00    ASST
04/20/20   Gerten,            Attention to correspondence.                    0.20    182.00    ASST
           Alexander
04/20/20   Jones, Matthew     Attention to closing items including            1.00    990.00    ASST
                              conference calls re: closing documentation
                              and workstreams.
04/20/20   Trunnell, Nathan   Call with K&E team to discuss key               0.90    819.00    ASST
                              bankruptcy process related checklist items.
04/20/20   Trunnell, Nathan   Draft summary of key transaction                0.90    819.00    ASST
                              considerations for presentation to board.
04/20/20   Trunnell, Nathan   Check-in call with CSM team.                    0.90    819.00    ASST
04/20/20   Trunnell, Nathan   Email with Frontier team.                       0.90    819.00    ASST
04/20/20   Trunnell, Nathan   Attention to revised language for sale          0.90    819.00    ASST
                              order from Ballard Spahr.
04/20/20   Trunnell, Nathan   Closing checklist call with Paul Weiss          0.80    728.00    ASST
                              team.
04/20/20   Trunnell, Nathan   Attention to closing checklist and closing      0.80    728.00    ASST
                              deliverables.
04/21/20   Borzi, Lavinia M. Coordination with debtor's counsel on            0.80    508.00    ASST
                             hearing appearances.
04/21/20   Gerten,            Reviewing revised sale motion.                  1.60   1,456.00   ASST
           Alexander
04/21/20   Kotowski,          Attention to editing signature packets and      3.10   1,023.00   ASST
           Michael            checking in on entity conversions.
04/21/20   Kotowski,          Attention to creating fully executed            0.20      66.00   ASST
           Michael            versions for K. Ferber.
04/21/20   Trunnell, Nathan   Revise draft letter agreement.                  1.00     910.00   ASST
04/21/20   Trunnell, Nathan   Draft follow-up email for Frontier team on      1.10   1,001.00   ASST
                              items in revised checklist.
04/21/20   Trunnell, Nathan   Email with Paul Weiss and CSM ECB               1.10   1,001.00   ASST
                              teams re: pension transfer mechanics and
                              related closing workstreams.
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Date       Name               Description                                   Hours    Amount     Task
04/21/20   Trunnell, Nathan   Email with Paul Weiss team regarding            1.00    910.00    ASST
                              financing for transaction and related
                              deliverables.
04/21/20   Trunnell, Nathan   Attention to revised sale motion and order.     1.00    910.00    ASST
04/21/20   Trunnell, Nathan   Attention to closing checklist revisions        1.10   1,001.00   ASST
                              from Paul Weiss and discuss with team.
04/21/20   Jones, Matthew     Attention to closing documents.                 3.00   2,970.00   ASST
04/21/20   Trunnell, Nathan   Draft closing 8-K.                              1.00    910.00    ASST
04/22/20   Ferber, Kyra       Pre-closing update call.                        0.70     556.50   ASST
04/22/20   Trunnell, Nathan   Closing checklist call with full team.          1.30   1,183.00   ASST
04/22/20   Trunnell, Nathan   Draft bullets for board meeting and discuss     1.30   1,183.00   ASST
                              with M. Jones.
04/22/20   Trunnell, Nathan   Attention to transaction documents to           1.30   1,183.00   ASST
                              answer questions from K&E team and
                              objecting counterparties in bankruptcy
                              process.
04/22/20   Trunnell, Nathan   Calls with K&E team and objecting               1.30   1,183.00   ASST
                              counterparties to discuss.
04/22/20   Ferber, Kyra       Attend to K. Saville requests.                  0.70    556.50    ASST
04/22/20   Ferber, Kyra       Attend to M. Golob requests.                    0.70    556.50    ASST
04/22/20   Ferber, Kyra       Update closing checklist.                       0.70    556.50    ASST
04/22/20   Ferber, Kyra       Coordinate with Paul Weiss regarding            0.70    556.50    ASST
                              closing deliverables.
04/22/20   Ferber, Kyra       Draft closing 8-K.                              0.70    556.50    ASST
04/22/20   Ferber, Kyra      Revise commercial agreement.                     0.80     636.00   ASST
04/22/20   Townsend III, R I Review status.                                   1.50   2,587.50   ASST
04/22/20   Kotowski,          Attention to creating Executed Copies and       3.10   1,023.00   ASST
           Michael            editing signature pages for K. Ferber.
04/22/20   Trunnell, Nathan   Attention to bankruptcy filing drafts.          1.30   1,183.00   ASST
04/22/20   Trunnell, Nathan   Email with Frontier team re Closing             1.30   1,183.00   ASST
                              deliverables.
04/22/20   Jones, Matthew     Attention to draft closing documents            4.50   4,455.00   ASST
                              including correspondence with K&E
                              regarding bankruptcy objections.
04/22/20   Trunnell, Nathan   Coordinate signature pages.                     1.30   1,183.00   ASST
04/23/20   Ferber, Kyra       Revise closing checklist.                       0.80    636.00    ASST
04/23/20   Ferber, Kyra       Attend to requests from K&E.                    0.90    715.50    ASST
04/23/20   Ferber, Kyra       Call regarding bankruptcy hearing with A.       0.80    636.00    ASST
                              Spirito (FTI).
04/23/20   Ferber, Kyra       Attend to client requests.                      0.80    636.00    ASST
04/23/20   Ferber, Kyra       Compile signature pages.                        0.80    636.00    ASST
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Date       Name               Description                                   Hours    Amount     Task
04/23/20   Trunnell, Nathan   Attention to draft order language, provide      1.30   1,183.00   ASST
                              comments.
04/23/20   Trunnell, Nathan   Email with team re real estate issues.          1.30   1,183.00   ASST
04/23/20   Trunnell, Nathan   Attention to draft press release.               1.30   1,183.00   ASST
04/23/20   Ferber, Kyra       Coordinate comments to release                  0.80    636.00    ASST
                              documents.
04/23/20   Ferber, Kyra       Call with insurer re: surety bonds.             0.80    636.00    ASST
04/23/20   Ferber, Kyra       Call with K. Saville and S. Shedegow            0.80    636.00    ASST
                              regarding closing deliverables.
04/23/20   Trunnell, Nathan   Attention to release documents.                 1.40   1,274.00   ASST
04/23/20   Trunnell, Nathan   Calls with Frontier team to discuss updated     1.40   1,274.00   ASST
                              employee schedules and operating leases.
04/23/20   Trunnell, Nathan   Email and call with Paul Weiss team re          1.40   1,274.00   ASST
                              bankruptcy-related disclosures.
04/23/20   Trunnell, Nathan   Attention to proposed language for Order        1.40   1,274.00   ASST
                              and provide comments.
04/23/20   Kotowski,          Attention to creating Executed Versions         3.20   1,056.00   ASST
           Michael            for K. Ferber.
04/23/20   Jones, Matthew     Update transaction documents.                   3.50   3,465.00   ASST
04/23/20   Trunnell, Nathan   Email and call with K&E team and                1.30   1,183.00   ASST
                              objecting counterparties in bankruptcy
                              process.
04/24/20   Trunnell, Nathan   Prepare for bankruptcy hearing with K&E         1.10   1,001.00   ASST
                              team.
04/24/20   Trunnell, Nathan   Attend bankruptcy hearing.                      1.10   1,001.00   ASST
04/24/20   Trunnell, Nathan   Attention to closing checklist.                 1.10   1,001.00   ASST
04/24/20   Trunnell, Nathan   Review consent tracker and discuss with         1.10   1,001.00   ASST
                              CSM and PW teams.
04/24/20   Trunnell, Nathan   Attention to draft estimated closing            1.10   1,001.00   ASST
                              statement calculation and pension liability
                              figures and discuss with CSM and Frontier
                              teams.
04/24/20   Trunnell, Nathan   Email with Frontier team re other closing       1.10   1,001.00   ASST
                              deliverables.
04/24/20   Trunnell, Nathan   Attention to revised draft order language       1.10   1,001.00   ASST
                              and provide comments.
04/24/20   Zumbro, P          Attend (telephonically) Northwest Sale          1.60   2,760.00   ASST
                              approval hearing.
04/24/20   Borzi, Lavinia M. Telephonic attendance at sale approval           1.00    635.00    ASST
                             hearing.
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Date       Name               Description                                  Hours    Amount     Task
04/24/20   Kotowski,          Attention to answering filing related          0.80    264.00    ASST
           Michael            questions and editing documents for K.
                              Ferber.
04/24/20   Townsend III, R I Attention to closing.                           2.50   4,312.50   ASST
04/24/20   Trunnell, Nathan   Email and call with K&E team re                1.10   1,001.00   ASST
                              bankruptcy process and sale questions
                              from counterparties.
04/24/20   Jones, Matthew     Conference call to discuss estimated           1.30   1,287.00   ASST
                              closing statement.
04/24/20   Jones, Matthew     Conference calls with creditors and K&E.       1.20   1,188.00   ASST
04/24/20   Jones, Matthew     Attention to closing documents.                1.20   1,188.00   ASST
04/24/20   Jones, Matthew     Attend sale approval hearing.                  1.40   1,386.00   ASST
04/25/20   Ferber, Kyra       Revise Continuation of Services                1.20    954.00    ASST
                              Agreement.
04/25/20   Ferber, Kyra       Call with NWF/FTR teams regarding pre-         1.10    874.50    ASST
                              closing updates.
04/25/20   Ferber, Kyra       Update closing checklist.                      1.20    954.00    ASST
04/25/20   Trunnell, Nathan   Attention to continuation of service           1.10   1,001.00   ASST
                              agreement for California customers served
                              out of Oregon.
04/25/20   Trunnell, Nathan   Call with K&E team re language in order        1.10   1,001.00   ASST
                              permitting immaterial amendments to SPA
                              without consultation.
04/25/20   Trunnell, Nathan   Answer Frontier questions.                     1.00    910.00    ASST
04/25/20   Trunnell, Nathan   Attention to draft estimated closing           1.10   1,001.00   ASST
                              statement and calls with Frontier team to
                              discuss.
04/25/20   Trunnell, Nathan   Revise draft.                                  1.10   1,001.00   ASST
04/25/20   Trunnell, Nathan   Checklist call with principals.                1.00    910.00    ASST
04/25/20   Townsend III, R I Telephone call re closing.                      1.00   1,725.00   ASST
04/25/20   Trunnell, Nathan   Attention to consent tracker and closing       1.00    910.00    ASST
                              deliverables.
04/25/20   Jones, Matthew     Closing checklist call with business teams     1.40   1,386.00   ASST
                              and counsel.
04/25/20   Jones, Matthew     Conference call to discuss revised WC          1.50   1,485.00   ASST
                              statement.
04/25/20   Jones, Matthew     Comments to CA subscriber agreement            1.50   1,485.00   ASST
                              and other ancillary documentation.
04/26/20   Trunnell, Nathan   Attention to continuation of services          1.10   1,001.00   ASST
                              agreement draft and revise based on
                              feedback.
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Date       Name               Description                                 Hours    Amount     Task
04/26/20   Trunnell, Nathan   Email with Frontier team to answer            1.10   1,001.00   ASST
                              questions.
04/26/20   Trunnell, Nathan   Email regarding closing deliverables.         1.10   1,001.00   ASST
04/26/20   Trunnell, Nathan   Revise draft estimated closing statement      1.10   1,001.00   ASST
                              and share with PW team.
04/26/20   Trunnell, Nathan   Coordinate call to discuss closing            1.20   1,092.00   ASST
                              statement and pension figures with full
                              group.
04/26/20   Jones, Matthew     Attention to closing documents including      2.20   2,178.00   ASST
                              conference calls with FTR and PW.
04/26/20   Trunnell, Nathan   Attention to revised bankruptcy order         1.10   1,001.00   ASST
                              language.
04/27/20   Ferber, Kyra       Attend to questions from K. Saville.          1.20    954.00    ASST
04/27/20   Trunnell, Nathan   Call with B. Wisset to discuss assignment     0.80    728.00    ASST
                              of contracts.
04/27/20   Trunnell, Nathan   Attention to draft closing deliverables.      0.80    728.00    ASST
04/27/20   Trunnell, Nathan   Email with K&E team re sale order.            0.80    728.00    ASST
04/27/20   Trunnell, Nathan   Due diligence call with Cahill, NWF and       0.80    728.00    ASST
                              Frontier tems.
04/27/20   Ferber, Kyra       Pre-closing call with Purchaser and Paul      1.30   1,033.50   ASST
                              Weiss.
04/27/20   Trunnell, Nathan   Attention to draft closing statements and     0.70    637.00    ASST
                              PW questions on statements.
04/27/20   Trunnell, Nathan   Email with team and Frontier team re          0.80    728.00    ASST
                              timing and responsibility for closing
                              deliverables.
04/27/20   Kotowski,          Attention to checking in on filings and       1.10    363.00    ASST
           Michael            creating executed copies for K. Ferber.
04/27/20   Ferber, Kyra       Call regarding OPEB and pension               1.30   1,033.50   ASST
                              calculations.
04/27/20   Ferber, Kyra       Update closing checklist.                     1.30   1,033.50   ASST
04/27/20   Ferber, Kyra       Coordinate with Paul Weiss.                   1.30   1,033.50   ASST
04/27/20   Ferber, Kyra       Cahill diligence call.                        1.30   1,033.50   ASST
04/27/20   Ferber, Kyra       Prepare closing deliverables.                 1.30   1,033.50   ASST
04/27/20   Townsend III, R I Telephone call re closing status.              1.80   3,105.00   ASST
04/27/20   Jones, Matthew     Attention to updated closing documents.       5.60   5,544.00   ASST
04/27/20   Trunnell, Nathan   Email with Frontier team to answer            0.70    637.00    ASST
                              questions.
04/28/20   Trunnell, Nathan   Attention to closing deliverables and         0.80    728.00    ASST
                              revise drafts based on feedback.
04/28/20   Trunnell, Nathan   Attention to revised closing statement.       0.90    819.00    ASST
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Date       Name               Description                                   Hours    Amount     Task
04/28/20   Trunnell, Nathan   Call to discussed revised closing statement     0.90    819.00    ASST
                              with full group.
04/28/20   Trunnell, Nathan   Call with K&E team to discuss Financial         0.90    819.00    ASST
                              Statement side letter and need for
                              consultation with creditors.
04/28/20   Trunnell, Nathan   Draft systems standup side letter and           0.90    819.00    ASST
                              discuss with M. Jones.
04/28/20   Kotowski,          Attention to following up on filings and        2.60    858.00    ASST
           Michael            creating executed versions for K. Ferber.
04/28/20   Jones, Matthew     Attention to closing matters including          3.80   3,762.00   ASST
                              conference calls and comments to
                              transaction documentation.
04/28/20   Xi, Xifeng        Respond to FTR questions re: transfer            1.10   1,001.00   ASST
                             taxes and pre-closing taxes.
04/28/20   Townsend III, R I Attention to closing matters.                    1.80   3,105.00   ASST
04/28/20   Trunnell, Nathan   Closing checklist call with Paul Weiss          0.80    728.00    ASST
                              team.
04/29/20   Trunnell, Nathan   Discuss credit support obligations and          0.30    273.00    ASST
                              assignment and assumption agreements
                              with K. Ferber and Frontier team.
04/29/20   Trunnell, Nathan   Discuss certain IP agreements with              0.50    455.00    ASST
                              Frontier team.
04/29/20   Trunnell, Nathan   Modify side letter drafts based on              1.00    910.00    ASST
                              feedback.
04/29/20   Trunnell, Nathan   Email with Frontier team regarding closing      0.80    728.00    ASST
                              process.
04/29/20   Trunnell, Nathan   Attention to closing checklist.                 0.80    728.00    ASST
04/29/20   Trunnell, Nathan   Call with full group to discuss financial       0.50    455.00    ASST
                              statements side letter.
04/29/20   Jones, Matthew     Attention to closing documents.                 4.00   3,960.00   ASST
04/29/20   Townsend III, R I Telephone call re financial statement side       1.00   1,725.00   ASST
                             letter.
04/29/20   Kotowski,          Attention to versioning up documents and        0.80    264.00    ASST
           Michael            checking in on filings for K. Ferber.
04/30/20   Trunnell, Nathan   Answer questions re purchase price and          0.70    637.00    ASST
                              funds flow from Frontier and FTI teams.
04/30/20   Trunnell, Nathan   Review final versions of executed               0.70    637.00    ASST
                              documents and prepare for closing call.
04/30/20   Trunnell, Nathan   Email and call with K&E team re filings.        0.70    637.00    ASST
04/30/20   Trunnell, Nathan   Attention to Ziply press release and            0.70    637.00    ASST
                              Frontier 8-K.
04/30/20   Trunnell, Nathan   Discuss side letters with team and revise       0.70    637.00    ASST
                              drafts to reflect feedback.
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Date       Name               Description                                    Hours    Amount     Task
04/30/20   Trunnell, Nathan   Pre-closing call.                                0.70    637.00    ASST
04/30/20   Trunnell, Nathan   Coordinate delivery of documents into            0.70    637.00    ASST
                              escrow.
04/30/20   Trunnell, Nathan   Revise schedules to A&A agreements.              0.70    637.00    ASST
04/30/20   Townsend III, R I Telephone call re closing.                        4.00   6,900.00   ASST
04/30/20   Trunnell, Nathan   Closing checklist call.                          0.60    546.00    ASST
04/30/20   Jones, Matthew     Review various ancillary closing                 1.50   1,485.00   ASST
                              documents.
04/30/20   Jones, Matthew     Conference calls with purchaser's counsel.       1.50   1,485.00   ASST
04/30/20   Jones, Matthew     Conference calls with FTR and bankruptcy         1.50   1,485.00   ASST
                              counsel.
04/30/20   Jones, Matthew     Coordinated closing logistics.                   1.50   1,485.00   ASST
05/01/20   Trunnell, Nathan   Attention to closing documents including         2.10   1,911.00   ASST
                              post-closing filings and press release.
05/01/20   Townsend III, R I Telephone call re closing and                     1.40   2,415.00   ASST
                             announcement.
05/01/20   Jones, Matthew     Closing.                                         1.80   1,782.00   ASST
05/03/20   Trunnell, Nathan   Email with CSM M&A and capital                   0.30    273.00    ASST
                              markets teams re post-Closing
                              representations from management in
                              connection with comfort letter for buyer
                              financing.
05/03/20   Jones, Matthew     Attention to post-closing matters.               0.60    594.00    ASST
05/04/20   Trunnell, Nathan   Attention to closing documents in response       0.40    364.00    ASST
                              to Frontier questions related to bankruptcy
                              process and its bearing on post-Closing
                              items.
05/04/20   Kotowski,          Attention to creating closing set for K.         2.10    693.00    ASST
           Michael            Ferber.
05/05/20   Jones, Matthew     Attention to post-closing issues.                0.30    297.00    ASST
05/05/20   Trunnell, Nathan   Attention to closing documents in order to       0.80    728.00    ASST
                              answer Frontier questions regarding
                              bankruptcy process and post-Closing
                              items.
05/05/20   Kotowski,          Attention to creating closing set for K.         1.80    594.00    ASST
           Michael            Ferber.
05/06/20   Kotowski,          Attention to creating closing set for K.         5.00   1,650.00   ASST
           Michael            Ferber.
05/06/20   Trunnell, Nathan   Email with K. Ferber and B. Budnick re           0.60    546.00    ASST
                              questions from Frontier team.
05/07/20   Kotowski,          Attention to editing closing set and closing     2.20    726.00    ASST
           Michael            documents for K. Ferber.
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Date         Name               Description                                    Hours     Amount      Task
05/08/20     Ferber, Kyra       Produce closing set.                             0.40      318.00    ASST
05/08/20     Kotowski,          Attention to editing closing set for K.          4.10    1,353.00    ASST
             Michael            Ferber.
05/11/20     Kotowski,          Attention to editing closing set for N.          0.30        99.00   ASST
             Michael            Trunnell.
05/13/20     Trunnell, Nathan   Draft simple notice letter for Frontier          0.90      819.00    ASST
                                counterparty regarding assets owned by
                                transferred subsidiary.
05/15/20     Trunnell, Nathan   Attention to draft settlement agreement          1.20     1,092.00   ASST
                                and transaction documents to answer
                                question from K&E team.
05/15/20     Borzi, Lavinia M. Drafting of case summary update for               1.10      698.50    ASST
                               partners.
05/18/20     Trunnell, Nathan   Research question from Frontier.                 1.10     1,001.00   ASST
05/19/20     Trunnell, Nathan  Email and call with K. Ferber to discuss          0.60      546.00    ASST
                               questions from P. Garcia re license
                               assignments to NWF.
05/20/20     Borzi, Lavinia M. Coordination with MAO on call lines for           0.30      190.50    ASST
                               hearing.
05/20/20     Kotowski,         Attention to verifying entity Conversion          0.20        66.00   ASST
             Michael           information for K. Ferber.
05/21/20     Borzi, Lavinia M. Drafting filings for hearing appearances.         0.80       508.00   ASST
05/26/20     Trunnell, Nathan Attention to draft license assignment              2.50     2,275.00   ASST
                               agreement and propose comments.
05/26/20     Xi, Xifeng         Respond to FTR questions re: transfer            0.40      364.00    ASST
                                taxes and pre-closing taxes.
05/27/20     Trunnell, Nathan   Call with NWF and Frontier teams re WA           1.40     1,274.00   ASST
                                state transfer tax calculations and process.
05/27/20     Xi, Xifeng         Review transfer tax documents and attend         1.10     1,001.00   ASST
                                call to discuss WA transfer tax issues.
Subtotal for ASST                                                              299.10   254,521.00

CASE - General Case Strategy
 Date      Name               Description                                      Hours     Amount      Task
04/15/20   Velasco,          Attention to pulling the docket related to          1.10     363.00     CASE
           Veronica          this case, per A. Mills.
04/17/20     Budnick, B         Call with corporate and emails on Everest        0.40      408.00    CASE
                                transaction.
04/18/20     Budnick, B         Prepare notice letter and email.                 0.50      510.00    CASE
04/20/20     Budnick, B         Emails with client and N. Trunnell.              0.50      510.00    CASE
04/21/20     Budnick, B         Prepare execution assignments.                   1.00     1,020.00   CASE
04/22/20     Budnick, B         Jabbers and calls with corporate.                0.50       510.00   CASE
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Date        Name               Description                                   Hours    Amount     Task
04/23/20    Needham, A         Email correspondence with P. Zumbro re          1.20   2,070.00   CASE
                               “Bruno’s” transactions in bankruptcy.
04/23/20    Budnick, B         Emails and Jabber with N. Trunnell.             0.50    510.00    CASE
04/29/20    Budnick, B         Attention to emails.                            0.10    102.00    CASE
04/30/20    Velasco,           Attention to updating the bankruptcy            6.10   2,013.00   CASE
            Veronica           docket, per A. Mills.
04/30/20    Budnick, B         Attention to emails.                            0.10    102.00    CASE
05/01/20    Velasco,           Attention to updating the docket, per A.        2.30    759.00    CASE
            Veronica           Mills.
05/04/20    Velasco,           Attention to updating the docket, per A.        0.90    297.00    CASE
            Veronica           Mills.
05/06/20    Budnick, B         Emails regarding 2610 W. Casino.                0.10    102.00    CASE
Subtotal for CASE                                                             15.30   9,276.00

CRAV - Cravath Retention and Fee Application
 Date      Name              Description                                     Hours    Amount      Task
04/14/20  Gerten,           Provide comments on Zumbro declaration.            0.30    273.00    CRAV
          Alexander
04/14/20  Borzi, Lavinia M. Coordination on and implementation of              1.50    952.50    CRAV
                            task codes.
04/14/20    Borzi, Lavinia M. Coordination on conflict check procedures.       1.70   1,079.50   CRAV
04/15/20    Borzi, Lavinia M. Coordinating on conflicts check.                 1.00     635.00   CRAV
04/15/20    Borzi, Lavinia M. Coordinating with billing department on          0.70    444.50    CRAV
                              payments received before filing date.
04/16/20    Borzi, Lavinia M. Revision of application and declaration for      0.50    317.50    CRAV
                              coherence with filed sale motion.
04/17/20    Borzi, Lavinia M. Revising declaration for conflicts               1.70   1,079.50   CRAV
                              disclosure, researching precedents.
04/20/20    Borzi, Lavinia M. Review and updating of application,              1.20    762.00    CRAV
                              declaration and proposed order drafts.
04/21/20    Borzi, Lavinia M. Final revisions of retention application         1.80   1,143.00   CRAV
                              documents and transmission to debtors'
                              counsel.
04/21/20    Zumbro, P          Attention to 327(e) application and related     0.30    517.50    CRAV
                               matters.
04/21/20    Gerten,           Reviewing and commenting on                      0.40    364.00    CRAV
            Alexander         application.
04/22/20    Borzi, Lavinia M. Coordination with debtor's counsel on            0.40    254.00    CRAV
                              filing of CSM documents.
04/28/20    Gerten,            Discussion as to retention application.         0.20    182.00    CRAV
            Alexander
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Date       Name              Description                                    Hours    Amount       Task
04/28/20   Borzi, Lavinia M. Research on conflicts issues and                 1.80   1,143.00    CRAV
                             coordination with debtors' counsel.
04/29/20   Gerten,            Discuss filing process with L. Borzi.           0.60     546.00    CRAV
           Alexander
04/30/20   Gerten,            Reviewing K&E revisions to retention            0.60     546.00    CRAV
           Alexander          application.
05/01/20   Gerten,            Attention to correspondence as to retention     0.20     182.00    CRAV
           Alexander          application.
05/11/20   Gerten,            Summarize process to have fees paid for         0.80     728.00    CRAV
           Alexander          work during Frontier chapter 11 case.
05/18/20   Gerten,            Coordinate with K&E as to reply to UST          1.60    1,456.00   CRAV
           Alexander          requesting pillowtex disclosure.
05/18/20   Zumbro, P         Attention to UST issues.                         0.20      345.00   CRAV
05/18/20   Borzi, Lavinia M. Preparation of disclosures in response to        2.20    1,397.00   CRAV
                             US Trustee request.
05/18/20   Borzi, Lavinia M. Ordinary course analysis for potential           0.80     508.00    CRAV
                             preference claims.
05/19/20   Gerten,            Review and edit summary of impact of            1.00     910.00    CRAV
           Alexander          potential preference claim on Cravath
                              retention.
05/19/20   Borzi, Lavinia M. Preparation of disclosures in response to        2.00    1,270.00   CRAV
                             US Trustee request.
05/20/20   Gerten,           Correspondence as to effect of potential         0.60     546.00    CRAV
           Alexander         preference claim on Cravath retention.
05/20/20   Borzi, Lavinia M. Subsequent new value analysis for                2.50    1,587.50   CRAV
                             potential preference claims.
05/20/20   Borzi, Lavinia M. Preparation of disclosures for UST request.      1.20     762.00    CRAV
05/21/20   Gerten,           Coordinate appearance at omnibus                 0.40     364.00    CRAV
           Alexander         hearing.
05/21/20   Gerten,            Attention to correspondence as to effect of     0.70     637.00    CRAV
           Alexander          potential preference claim on Cravath
                              retention.
05/21/20   Zumbro, P          Attention to US Trustee issues.                 0.20     345.00    CRAV
05/21/20   Borzi, Lavinia M. Correspondence with US trustee, finalizing       1.20     762.00    CRAV
                             of disclosure chart.
05/22/20   Gerten,            Attend omnibus hearing through approval         0.70     637.00    CRAV
           Alexander          of Cravath retention application.
05/22/20   Borzi, Lavinia M. Preparation for hearing.                         0.60     381.00    CRAV
05/22/20   Borzi, Lavinia M. Attendance at second day hearing.                0.60     381.00    CRAV
05/22/20   Borzi, Lavinia M. Post hearing briefing with A. Gerten.            0.40     254.00    CRAV
Subtotal for CRAV                                                            32.60   23,691.50
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LITG - Litigation Adversary Proceedings
 Date        Name             Description                                     Hours    Amount      Task
04/15/20    Mills, Alexander Review legal research regarding                    1.00    895.00     LITG
            L.                bankruptcy jurisdiction.
04/15/20     Mills, Alexander    Review bankruptcy filings in the Southern      3.00    2,685.00   LITG
             L.                  District of New York.
04/15/20     Mills, Alexander    Review Purchase Agreement and                  2.30    2,058.50   LITG
             L.                  attachments thereto.
04/15/20     Mills, Alexander    Attention to paralegal staffing and            0.40     358.00    LITG
             L.                  organization.
04/16/20     Mills, Alexander    Review Purchase Agreement.                     0.80     716.00    LITG
             L.
04/16/20     Mills, Alexander    Review and analyze correspondence              4.50    4,027.50   LITG
             L.                  concerning Systems Standup.
Subtotal for LITG                                                              12.00   10,740.00

OPRS - Business Operations Matters
 Date       Name            Description                                       Hours    Amount      Task
04/15/20   Ye, Sally        Attention to short-term disability benefits.        0.90    819.00     OPRS
04/16/20     Ye, Sally           Respond to emails.                             0.10      91.00    OPRS
04/16/20     Foster, Nicole F.   Emails regarding obligations of STD            0.30     360.00    OPRS
                                 benefits.
04/17/20     Ferber, Kyra        Call with client regarding IP License          0.80     636.00    OPRS
                                 Agreement.
04/17/20     Ferber, Kyra        Update Assignment and Assumption               0.90     715.50    OPRS
                                 Agreement for vehicles.
04/17/20     Ferber, Kyra        Coordinate with Cahill/Paul Weiss/K&E          0.90     715.50    OPRS
                                 teams regarding VCE filings.
04/17/20     Ferber, Kyra        Draft and revise certain Side Agreement.       0.80     636.00    OPRS
04/17/20     Ferber, Kyra        Update closing checklist.                      0.80     636.00    OPRS
04/17/20     Ferber, Kyra        Attend to client request regarding             0.80     636.00    OPRS
                                 redaction.
04/17/20     Foster, Nicole F.   Drafting letter regarding reimbursement of     2.70    3,240.00   OPRS
                                 STD benefit costs.
04/17/20     Ye, Sally           Revise side letter.                            1.90    1,729.00   OPRS
04/17/20     Hilfers, E W        Attention to plan reimbursement issue.         0.50     862.50    OPRS
04/18/20     Ye, Sally           Revise side letter.                            0.90     819.00    OPRS
04/18/20     Foster, Nicole F.   Review of STD reimbursement side letter.       0.60     720.00    OPRS
04/21/20     Ferber, Kyra        Update closing checklist.                      1.80    1,431.00   OPRS
04/21/20     Green, Matthew      Attention to lease notices for B. Budnick.     0.50     180.00    OPRS
04/21/20     Ferber, Kyra        Respond to client questions regarding          1.90    1,510.50   OPRS
                                 transferred contracts.
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Date       Name                Description                                  Hours    Amount     Task
04/21/20   Ye, Sally           Review closing checklist.                      1.70   1,547.00   OPRS
04/21/20   Hilfers, E W        Attention to STD issue.                        0.20     345.00   OPRS
04/21/20   Foster, Nicole F.   Attention to STD reimbursement side            1.30   1,560.00   OPRS
                               letter and emails regarding pension
                               transfers.
04/21/20   Louche, Laoure      Review lease notice provisions.                0.50    165.00    OPRS
04/21/20   Ferber, Kyra        Draft 8-K.                                     1.90   1,510.50   OPRS
04/21/20   Ferber, Kyra        Respond to client requests.                    1.90   1,510.50   OPRS
04/22/20   Louche, Laoure      Attention to executed lease assignments.       0.10      33.00   OPRS
04/23/20   Foster, Nicole F.   Review of updated employee list and            1.00   1,200.00   OPRS
                               emails regarding same and public filings
                               regarding equity grants.
04/23/20   Louche, Laoure      Attention to lease assignment documents.       0.40    132.00    OPRS
04/23/20   Ye, Sally           Revise employee schedule.                      2.20   2,002.00   OPRS
04/24/20   Ferber, Kyra        Estimated closing statement call with          0.70    556.50    OPRS
                               client.
04/24/20   Ye, Sally           Review liability statement.                    1.60   1,456.00   OPRS
04/24/20   Foster, Nicole F.   Review of pension and retiree liabilities      0.80    960.00    OPRS
                               estimate and emails regarding same.
04/24/20   Ferber, Kyra        Review continuation of services                0.80    636.00    OPRS
                               agreement.
04/24/20   Ferber, Kyra        Coordinate comments regarding release          0.80    636.00    OPRS
                               documents.
04/24/20   Ferber, Kyra        Update closing checklist.                      0.80    636.00    OPRS
04/24/20   Ferber, Kyra        Call regarding commercial agreement.           0.70    556.50    OPRS
04/24/20   Ferber, Kyra        Follow-up call regarding estimated closing     0.80    636.00    OPRS
                               statement.
04/24/20   Ferber, Kyra        Coordinate diligence call with Paul Weiss      0.80    636.00    OPRS
                               and Cahill teams.
04/24/20   Ferber, Kyra        Revise TSA per client requests.                0.80    636.00    OPRS
04/24/20   Ferber, Kyra        Call with M. Golob regarding TSA               0.80    636.00    OPRS
                               revisions.
04/25/20   Ye, Sally           Review liability statement.                    0.50    455.00    OPRS
04/25/20   Foster, Nicole F.   Emails regarding pension and retiree           0.30    360.00    OPRS
                               liability calculations.
04/26/20   Foster, Nicole F.   Emails regarding unfunded employee             0.20    240.00    OPRS
                               liability calculations.
04/27/20   Ye, Sally           Review liability amounts.                      1.50   1,365.00   OPRS
04/27/20   Ye, Sally           Draft unfunded employee liability              1.50   1,365.00   OPRS
                               statement.
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Date       Name                Description                                  Hours    Amount     Task
04/27/20   Foster, Nicole F.   Review of unfunded employee liability          2.30   2,760.00   OPRS
                               calculations.
04/28/20   Ferber, Kyra        Closing checklist call with Paul Weiss.        1.20    954.00    OPRS
04/28/20   Foster, Nicole F.   Research regarding I-9s and emails             2.30   2,760.00   OPRS
                               regarding same.
04/28/20   Ye, Sally           Research I-9 compliance requirements.          2.70   2,457.00   OPRS
04/28/20   Ferber, Kyra        Revise wholesale assignment and                1.30   1,033.50   OPRS
                               assumption agreement.
04/28/20   Ferber, Kyra        Call with Paul Weiss regarding release         1.30   1,033.50   OPRS
                               documents.
04/28/20   Ferber, Kyra        Draft and revise side letter regarding         1.30   1,033.50   OPRS
                               licenses.
04/28/20   Ferber, Kyra        Coordinate comments to release                 1.30   1,033.50   OPRS
                               documents with Paul Weiss and K&E.
04/28/20   Ferber, Kyra        Call regarding estimated closing statement     1.30   1,033.50   OPRS
                               and revised working capital.
04/28/20   Ferber, Kyra        Call with B. Wissett regarding wholesale       1.30   1,033.50   OPRS
                               assignment and assumption agreement.
04/29/20   Ferber, Kyra        Call regarding side letter.                    1.10    874.50    OPRS
04/29/20   Ye, Sally           Respond to emails.                             0.40    364.00    OPRS
04/29/20   Borzi, Lavinia M. Coordination with debtor's counsel on            1.20    762.00    OPRS
                             filing of applications.
04/29/20   Foster, Nicole F.   Emails regarding I-9s and pension plan         0.40    480.00    OPRS
                               transfer.
04/29/20   Ferber, Kyra        Call regarding Wholesale A&A exhibit.          1.10    874.50    OPRS
04/29/20   Ferber, Kyra        Coordination with Paul Weiss regarding         1.10    874.50    OPRS
                               closing deliverables.
04/29/20   Ferber, Kyra        Review and revise closing deliverables.        1.10    874.50    OPRS
04/29/20   Ferber, Kyra        Update closing checklist.                      1.20    954.00    OPRS
04/29/20   Ferber, Kyra        Attend to client requests.                     1.20    954.00    OPRS
04/29/20   Ferber, Kyra        Coordination with K&E regarding release        1.20    954.00    OPRS
                               of liens.
04/30/20   Ferber, Kyra        Closing checklist calls with client,           2.30   1,828.50   OPRS
                               purchaser and purchaser's counsel.
04/30/20   Ye, Sally           Revise schedules.                              0.70    637.00    OPRS
04/30/20   Foster, Nicole F.   Emails regarding pension and employee          0.30    360.00    OPRS
                               transfers.
04/30/20   Ferber, Kyra        Review and revise closing deliverables.        2.40   1,908.00   OPRS
04/30/20   Ferber, Kyra        Revise and coordinate review of 8-K.           2.40   1,908.00   OPRS
04/30/20   Ferber, Kyra        Finalize outstanding closing documents.        2.40   1,908.00   OPRS
05/01/20   Ferber, Kyra        Revise and file form 8-K.                      2.00   1,590.00   OPRS
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Date       Name                Description                                    Hours      Amount      Task
05/01/20   Ye, Sally           Call with K. Ferber.                             0.50      455.00     OPRS
05/04/20   Ferber, Kyra        Coordinate with Paul Weiss regarding             1.00      795.00     OPRS
                               diligence in advance of bond offering.
05/05/20   Ferber, Kyra        Coordinate with Paul Weiss regarding             1.00       795.00    OPRS
                               diligence in advance of bond offering.
05/06/20   Ferber, Kyra        Coordinate with client regarding questions       1.00       795.00    OPRS
                               from Paul Weiss.
05/07/20   Ye, Sally           Respond to emails.                               0.40       364.00    OPRS
05/07/20   Ferber, Kyra        Attend to client requests.                       0.40       318.00    OPRS
05/11/20   Ferber, Kyra        Review and revise management rep letter          0.60       477.00    OPRS
                               to KPMG.
05/12/20   Foster, Nicole F.   Emails regarding worker’s compensation           0.30       360.00    OPRS
                               claims and review of purchase agreement.
05/12/20   Ye, Sally           Attention to workers compensation issue.         0.80       728.00    OPRS
05/13/20   Ferber, Kyra        Attend to client requests, review and revise     0.40       318.00    OPRS
                               Notice Letter.
05/13/20   Foster, Nicole F.   Email regarding worker’s compensation            0.10       120.00    OPRS
                               liabilities.
05/14/20   Ferber, Kyra        Attend to client requests.                       0.30        238.50   OPRS
05/19/20   Ferber, Kyra        Attend to client request regarding               2.50      1,987.50   OPRS
                               extension agreement.
05/20/20   Ferber, Kyra        Attend to client requests regarding              0.80       636.00    OPRS
                               converted entities and follow-up
                               information for excise taxes.
05/26/20   Ferber, Kyra        Attend to client requests regarding transfer     1.00       795.00    OPRS
                               taxes.
05/26/20   Ferber, Kyra        Coordinate with FTI regarding bond               1.00       795.00    OPRS
                               holder requests.
05/26/20   Ferber, Kyra        Review and revise commercial agreement.          1.00       795.00    OPRS
05/27/20   Ferber, Kyra        Attend to client requests regarding              0.70       556.50    OPRS
                               commercial agreement.
05/27/20   Ferber, Kyra        Attend to client requests regarding WA           0.30       238.50    OPRS
                               excise taxes.
05/27/20   Ferber, Kyra        Call with client and purchaser regard WA         0.50       397.50    OPRS
                               excise taxes.
Subtotal for OPRS                                                              95.10     82,710.00


               TOTAL LEGAL SERVICES                                           454.10   $380,938.50
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   DETAILED DESCRIPTION OF EXPENSES

   Special Disbursements
    Cost Type                Date        Description                                              Amount
    Special Disbursements    04/14/20    Kotowski, Michael                                          75.12
                                         CSC - Document Retrieval

    Special Disbursements    04/14/20    Kotowski, Michael                                          75.12
                                         CSC - Document Retrieval

    Special Disbursements    04/15/20    Hallam III, O. Keith                                    15,117.67
                                         CSC - Court Fees - Conversion of Companies
                                         to LLCs (multiple filings)

    Special Disbursements    04/16/20    Ferber, Kyra                                              324.00
                                         CSC - Foreign Filing

    Special Disbursements    04/29/20    Jituboh, O                                                386.56
                                         CSC - Foreign Filing

    Special Disbursements    04/29/20    Jituboh, O                                                105.17
                                         CSC - Document Retrieval

    Subtotal for Special Disbursements                                                           16,083.64

   Conf. Call/Voice/Data
   Cost Type                 Date        Description                                              Amount
   Conf. Call/Voice/Data     04/14/20    Ferber, Kyra                                               2.49
                                         Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/14/20    Ferber, Kyra                                                 7.15
                                         Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/16/20    Ferber, Kyra                                                 9.53
                                         Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/16/20    Ferber, Kyra                                                 2.39
                                         Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/20/20    Ferber, Kyra                                                 2.25
                                         Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/20/20    Ferber, Kyra                                                 5.16
                                         Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/20/20    Trunnell, Nathan                                             2.50
                                         Conference call by Nathan H. Trunnell

    Conf. Call/Voice/Data    04/22/20    Ferber, Kyra                                                 8.47
                                         Conference call by Kyra Ferber
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    Cost Type                Date         Description                                             Amount

    Conf. Call/Voice/Data    04/24/20     Trunnell, Nathan                                           5.15
                                          Conference call by Nathan H. Trunnell

    Conf. Call/Voice/Data    04/24/20     Ferber, Kyra                                              12.87
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/25/20     Ferber, Kyra                                              27.09
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/27/20     Ye, Sally                                                 22.43
                                          Conference call by Sally Ye

    Conf. Call/Voice/Data    04/27/20     Ferber, Kyra                                              47.48
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/27/20     Ferber, Kyra                                               3.51
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/28/20     Jones, Matthew                                             1.00
                                          Conference call by Matthew G. Jones

    Conf. Call/Voice/Data    04/28/20     Ferber, Kyra                                              16.78
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/29/20     Ferber, Kyra                                              15.22
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    04/30/20     Ferber, Kyra                                              22.88
                                          Conference call by Kyra Ferber

    Conf. Call/Voice/Data    05/01/20     Ferber, Kyra                                              22.71
                                          Conference call by Kyra Ferber

    Subtotal for Conf. Call/Voice/Data                                                             237.06

   Computerized Research/Database Research
   Cost Type              Date           Description                                              Amount
   Computerized           04/28/20       Borzi, Lavinia M.                                         101.21
   Research/Database                     Lexis Resch User ID: 14644 User: BORZI,
   Research                              LAVINIA

    Computerized             04/28/20     Puras, R                                                  27.10
    Research/Database                     Lexis Resch User ID: 07444 User: PURAS,
    Research                              ROBERT

    Computerized             04/28/20     Puras, R                                                  27.10
    Research/Database                     Lexis Resch User ID: 07444 User: PURAS,
    Research                              ROBERT
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    Cost Type               Date          Description                                        Amount
    Computerized            04/28/20      Puras, R                                             54.19
    Research/Database                     Lexis Resch User ID: 07444 User: PURAS,
    Research                              ROBERT

    Computerized            04/28/20      Puras, R                                             27.10
    Research/Database                     Lexis Resch User ID: 07444 User: PURAS,
    Research                              ROBERT

    Computerized            04/28/20      Ye, Sally                                           241.64
    Research/Database                     User: PURAS,ROBERT, West Acct #
    Research                              PURAS,ROBERT
    Subtotal for Computerized Research/Database Research                                      478.34

                                                   TOTAL EXPENSES                        $16,799.04
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                                            Second Monthly Fee Period

                              Detailed Description of Time Records and Expenses

                                         June 1, 2020 through June 30, 2020




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   NAME OF                              TOTAL
                          YEAR   HOURLY           TOTAL
PROFESSIONAL DEPARTMENT                 HOURS
                        ADMITTED  RATE         COMPENSATION
  PARTNERS:                             BILLED
Robert I. Townsend III    Corporate        1991       $1,725        0.3            $517.50

Total Partners:                                                     0.3            $517.50



   NAME OF                              TOTAL
                          YEAR   HOURLY           TOTAL
PROFESSIONAL DEPARTMENT                 HOURS
                        ADMITTED  RATE         COMPENSATION
 ASSOCIATES:                            BILLED
Alexander Gerten          Corporate        2017        $910        2.60           $2,366.00
Nathan H. Trunnell        Corporate        2017        $910        5.30           $4,823.00
Kyra E. Ferber            Corporate        2019        $795        8.70           $6,916.50
Somi A. Umolu             Corporate        2019        $795        6.10           $4,849.50
Lavinia M. Borzi          Corporate        2020        $635        8.20           $5,207.00
Total Associates:                                                  30.9          $24,162.00
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   LEGAL SERVICES RENDERED
     Date          Timekeeper               Description                                      Hours     Amount
     ASST – Asset Disposition
     06/01/20 Trunnell,                     Email with K. Ferber re agreement assigning       0.80      728.00
              Nathan H.                     extended IP licenses.
     06/01/20 Trunnell,                     Email with CSM team to discuss question from      0.80      728.00
              Nathan H.                     Frontier regarding SPA provisions.
     06/01/20 Trunnell,                     Attention to revised draft Assignment and         0.80      728.00
              Nathan H.                     Assumption Agreement with licensor
                                            counterparty and propose comments.
     06/02/20 Trunnell,                     Revisions to commercial agreement and             0.80      728.00
              Nathan H.                     comments on Assignment and Assumption
                                            Agreement with licensor counterparty.
     06/08/20 Trunnell,                     Attention to transaction documents and IP         0.40      364.00
              Nathan H.                     license agreements to answer questions re
                                            assignment of licenses from Frontier team.
     06/15/20 Trunnell,                     Attention to transaction documents to answer      0.60      546.00
              Nathan H.                     questions from Frontier team
     06/24/20 Trunnell,                     Attention to IP agreements to answer              1.10    1,001.00
              Nathan H.                     questions from Frontier team.
                                                               Total for Asset Disposition    5.30    4,823.00

     CORP – General Corporate Advisory
     06/01/20 Ferber, Kyra                  Attend to client request.                         1.00      795.00
              E.
     06/01/20 Ferber, Kyra                  Draft and revise assignment agreement             3.00    2,385.00
              E.
     06/02/20 Ferber, Kyra                  Review and revise commercial agreement.           0.70      556.50
              E.
     06/02/20 Ferber, Kyra                  Revise commercial agreement.                      0.80      636.00
              E.
     06/08/20 Ferber, Kyra                  Review underlying commercial agreements for       0.80      636.00
              E.                            request relating to extension agreement.
     06/08/20 Ferber, Kyra                  Call with Paul Garcia                             0.10       79.50
              E.
     06/12/20 Ferber, Kyra                  Attend to client request                          1.00      795.00
              E.
     06/15/20 Ferber, Kyra                  Attend to client requests                         0.80      636.00
              E.




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     Date      Timekeeper        Description                                   Hours      Amount
     06/17/20 Ferber, Kyra       Review acknowledgment of assignment            0.50       397.50
              E.                 agreement.
     06/24/20 Umolu, Somi        Reviewing commercial agreements to respond     6.10      4,849.50
              A.                 to client inquiry.
     06/29/20 Townsend III,      Attention to info sharing question             0.30       517.50
              Robert I.
                                        Total for General Corporate Advisory   15.10     12,283.50

     CRAV - Cravath Retention and Fee Application
     06/09/20 Borzi, Lavinia     Preparing first monthly fee statement          2.40      1,524.00
              M.
     06/10/20 Borzi, Lavinia     Drafting Cravath retention application.        3.00      1,905.00
              M.
     06/10/20 Borzi, Lavinia     Correspondence with billing department and     1.60      1,016.00
              M.                 support staff re: retention application
     06/11/20 Borzi, Lavinia     Review of fee statement drafts.                0.90       571.50
              M.
     06/11/20 Borzi, Lavinia     Coordinating with support staff and billing    0.30       190.50
              M.                 department on fee statement.
     06/11/20 Gerten,            Correspondence as to monthly fee statement.    0.90       819.00
              Alexander
     06/12/20 Gerten,            Correspondence as to monthly fee statement.    0.80       728.00
              Alexander
     06/14/20 Gerten,            Correspondence as to monthly fee statement.    0.40       364.00
              Alexander
     06/23/20 Gerten,            Correspondence as to monthly fee statement     0.10        91.00
              Alexander
     06/30/20 Gerten,            Review monthly fee statement.                  0.40       364.00
              Alexander
                             Total for Cravath Retention and Fee Application   10.80      7,573.00

                               Total                                           31.20 $   24,679.50
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    Summary of Actual and Necessary Expenses from July 1, 2020 through July 31, 2020

    EXPENSES                                                                           AMOUNTS
    Special Disbursements (Document Retrieval)                                             $1,080.56
    Total Expenses Requested:                                                              $1,080.56




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                                                Third Monthly Fee Period

                             Detailed Description of Time Records (No Expenses)

                                             July 1, 2020 through July 31, 2020




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     NAME OF                               TOTAL
                             YEAR   HOURLY           TOTAL
   PROFESSIONAL DEPARTMENT                 HOURS
                           ADMITTED  RATE         COMPENSATION
    ASSOCIATES:                            BILLED
   Alexander Gerten           Corporate            2017          $910     1.80        $1,638.00
   Nathan H. Trunnell         Corporate            2017          $910     9.60        $8,736.00
   Kyra E. Ferber             Corporate            2019          $795    12.60       $10,017.00
   Lavinia M. Borzi           Corporate            2020          $635     4.20        $2,667.00
   Total Associates:                                                     28.20       $23,058.00



                                                                      TOTAL
           NAME OF                                             HOURLY           TOTAL
                                          DEPARTMENT                  HOURS
      PARAPROFESSIONALS:                                        RATE         COMPENSATION
                                                                      BILLED
   Laoure Louche                           Legal Assistant      $310     8.00         $2,480.00
   Veronica Velasco                       Litigation Support    $330    10.10         $3,333.00
   Total Paraprofessionals:                                             18.10         $5,813.00
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   LEGAL SERVICES RENDERED
    Date   Timekeeper Description                                                            Hours    Amount
     ASST – Asset Disposition
     07/01/20 Trunnell,                      Attention to license agreements to answer        1.60    1,456.00
              Nathan H.                      questions from Frontier team
     07/02/20 Trunnell,                      Email with CSM team re questions from            0.50     455.00
              Nathan H.                      Frontier team re IP licenses
     07/07/20 Trunnell,                      Attention to transaction documents and IP        0.90     819.00
              Nathan H.                      license agreements to answer questions
                                             from Frontier team.
     07/08/20 Trunnell,                      Revise draft assignment and assumption           2.50    2,275.00
              Nathan H.                      agreement based on feedback from P.
                                             Garcia.
     07/08/20 Trunnell,                      Call with P. Garcia to discuss IP license        0.40     364.00
              Nathan H.                      extension and assignment.
     07/09/20 Trunnell,                      Revise draft IP assignment and                   1.10    1,001.00
              Nathan H.                      assumption agreement based on
                                             discussions with CSM team
     07/09/20 Trunnell,                      Call with Frontier team to discuss               0.50     455.00
              Nathan H.                      questions regarding services and TSA
                                             schedules.
     07/10/20 Trunnell,                      Call with P. Garcia to discuss revised IP        0.20     182.00
              Nathan H.                      assignment and assumption agreement
     07/12/20 Trunnell,                      Email with K. Ferber to answer questions         0.20     182.00
              Nathan H.                      from Frontier team
     07/15/20 Trunnell,                      Email and call with K. Ferber to discuss         1.30    1,183.00
              Nathan H.                      questions from Frontier team re: side
                                             letter (0.8); attention to draft letter (0.5)
     07/20/20 Trunnell,                      Attention to draft letter for Frontier team.     0.40     364.00
              Nathan H.
                                                            Total for Asset Disposition       9.60    8,736.00

     CORP – General Corporate Advisory
     07/01/20 Ferber, Kyra                   Attend to client request regarding IP            0.50     397.50
              E.                             agreement
     07/08/20 Ferber, Kyra                   Call with P. Garcia regarding IP Rights          0.30     238.50
              E.
     07/09/20 Ferber, Kyra                   Attention to emails                              0.20     159.00
              E.




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     Date      Timekeeper     Description                                   Hours    Amount
     07/09/20 Ferber, Kyra    Call with P. Garcia regarding TSA.             0.50     397.50
              E.
     07/09/20 Ferber, Kyra    Review and revise IP Rights extension          0.50     397.50
              E.              agreement.
     07/09/20 Ferber, Kyra    Attend to client requests.                     0.30     238.50
              E.
     07/13/20 Ferber, Kyra    Attend to client request regarding             0.30     238.50
              E.              estimated closing working capital
     07/15/20 Ferber, Kyra    Call with K. Saville regarding Side Letter.    2.10    1,669.50
              E.
     07/15/20 Ferber, Kyra    Draft and revise Letter regarding Side         0.70     556.50
              E.              Letter
     07/15/20 Ferber, Kyra    Attention to email.                            0.20     159.00
              E.
     07/16/20 Ferber, Kyra    Attend to client request.                      0.70     556.50
              E.
     07/16/20 Ferber, Kyra    Draft and revise letter regarding side         0.80     636.00
              E.              letter
     07/17/20 Ferber, Kyra    Coordinate with counterparty counsel           0.30     238.50
              E.              regarding Side Letter.
     07/20/20 Ferber, Kyra    Coordinate with counterparty counsel           0.10      79.50
              E.              regarding Cide Letter
     07/20/20 Ferber, Kyra    Attention to email.                            0.10      79.50
              E.
     07/20/20 Ferber, Kyra    Revise letter regarding side letter.           0.50     397.50
              E.
     07/21/20 Ferber, Kyra    Draft and revise letter regarding side         1.00     795.00
              E.              letter.
     07/22/20 Ferber, Kyra    Draft and revise side letter and closing       2.70    2,146.50
              E.              statement
     07/22/20 Ferber, Kyra    Attend to client requests.                     0.30     238.50
              E.
     07/27/20 Ferber, Kyra    Email with P. Garcia.                          0.20     159.00
              E.
     07/27/20 Ferber, Kyra    Review commercial agreement                    0.30     238.50
              E.
                                Total for General Corporate Advisory        12.60   10,017.00
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     Date      Timekeeper    Description                                    Hours      Amount
     CRAV - Cravath Retention and Fee Application
     07/01/20 Borzi, Lavinia Correspondence with M. Mok regarding            0.80       508.00
              M.             fee statement drafts
     07/01/20 Borzi, Lavinia Reviewing fee statement drafts.                 1.00       635.00
              M.
     07/02/20 Borzi, Lavinia Reviewing fee statement drafts.                 1.60      1,016.00
              M.
     07/04/20 Gerten,        Review and edit monthly fee statement.          0.90       819.00
              Alexander
     07/06/20 Borzi, Lavinia Coordinating with M. Mok and billing            0.80       508.00
              M.             department on fee application
     07/06/20 Gerten,        Review and edit monthly fee statement.          0.20       182.00
              Alexander
     07/07/20 Gerten,        Review time entries for monthly fee             0.60       546.00
              Alexander      statement.
     07/13/20 Gerten,       Correspondence as to monthly fee                 0.10        91.00
              Alexander     statement.
                   Total for Cravath Retention and Fee Application           6.00      4,305.00

     HEAR - Hearings and Court Matters
     07/16/20 Velasco,       Attention to updating docket filings folder,    4.70      1,551.00
              Veronica       per A. Mills. (4.7)
     07/20/20 Velasco,       Attention to updating the docket, per A.        3.70      1,221.00
              Veronica       Mills. (3.7)
     07/30/20 Velasco,       Attention to updating the docket, per A.        1.70       561.00
              Veronica       Mills. (1.7)
     07/30/20 Sturkey,       Attention to updating bankruptcy docket         3.60      1,116.00
              Brianna
     07/31/20 Sturkey,       Attention to updating bankruptcy docket         4.40      1,364.00
              Brianna
                                  Total for Hearings and Court Matters      18.10      5,813.00

                          Total                                             46.30 $   28,871.00
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                                                Fourth Monthly Fee Period

                             Detailed Description of Time Records (No Expenses)

                                       August 1, 2020 through August 27, 2020




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     NAME OF                               TOTAL
                             YEAR   HOURLY           TOTAL
   PROFESSIONAL DEPARTMENT                 HOURS
                           ADMITTED  RATE         COMPENSATION
    ASSOCIATES:                            BILLED
   Nicole F. Foster            Tax         2004       $1200       0.10          $120.00
   Matthew G. Jones        Corporate       2014       $990        0.60          $594.00
   Nathan H. Trunnell      Corporate       2017       $910        0.30          $273.00
   Sally Ye                    Tax         2017       $910        0.70          $637.00
   Kyra E. Ferber          Corporate       2019       $795        8.50         $6,757.50
   Total Associates:                                             10.20         $8,381.50
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   LEGAL SERVICES RENDERED
    Date   Timekeeper Description                                                           Hours     Amount
     ASST – Asset Disposition
     08/04/20 Trunnell,                      Email with K. Ferber re TSA question            0.30      273.00
              Nathan H.                      from Frontier
     08/26/20 Jones,                         Conference call with Frontier re: TSA           0.60      594.00
              Matthew G.                     issues.
     08/27/20 Foster,                        Emails regarding TSA                            0.10      120.00
              Nicole F.
                                                              Total for Asset Disposition    1.00      987.00

     CORP – General Corporate Advisory
     08/04/20 Ferber, Kyra                   Review TSA and attend to client request         0.90      715.50
              E.                             regarding TSA and training
     08/13/20 Ferber, Kyra                   Attention to emails, attend to client           0.90      715.50
              E.                             request regarding closing statement
     08/18/20 Ferber, Kyra                   Draft and revise training side letter,          2.50     1,987.50
              E.                             attention to email
     08/19/20 Ferber, Kyra                   Attention to email, draft and revise            1.00      795.00
              E.                             Training Side Letter
     08/21/20 Ferber, Kyra                   Respond to client questions                     0.30      238.50
              E.
     08/24/20 Ferber, Kyra                   Attention to email                              0.40      318.00
              E.
     08/25/20 Ferber, Kyra                   Attention to email                              0.40      318.00
              E.
     08/26/20 Ferber, Kyra                   Attend to request from A. Gerten                0.60      477.00
              E.
     08/26/20 Ferber, Kyra                   Calls regarding Frontier TSA questions          1.50     1,192.50
              E.
     08/26/20 Ye, Sally                      Review services agreement.                      0.70       637.00
                                                  Total for General Corporate Advisory       9.20     7,394.50

                                      Total                                                 10.20 $   8,381.50




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